UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MASSAPEQUA UNION FREE SCHOOL DISTRICT,
MASSAPEQUA UNION FREE SCHOOL DISTRICT
BOARD OF EDUCATION, JEANINE CARAMORE, in her NOTICE OF APPEAL
capacity as a Board of Education Member and a
Resident/Parent of the School Community.
                                                            23-cv-07052
                                    Plaintiffs-Petitioners, (MKB) (LGD)

               -against-

NEW YORK STATE BOARD OF REGENTS, LESTER W.
YOUNG, JR, in his official capacity as Chancellor of the
New York State Board of Regents, JOSEPHINE VICTORIA
FINN, in her official capacity as Vice Chancellor of the New
York State Board of Regents, ROGER TILLES, in his official
capacity as a member of the New York State Board of
Regents, CHRISTINE D. CEA, in her official capacity as a
member of the New York State Board of Regents, WADE S.
NORWOOD, in his official capacity as a member of the New
York State Board of Regents, KATHLEEN M. CASHIN, in
her official capacity as a member of the New York State
Board of Regents, JAMES E. COTRELL, in his official
capacity as a member of the New York State Board of
Regents, JUDITH CHIN, in her official capacity as a member
of the New York State Board of Regents, CATHERINE
COLLINS, in her official capacity as a member of the New
York State Board of Regents, ELIZABETH S. HAKANSON,
in her official capacity as a member of the New York State
Board of Regents, LUIS O. REYES, in his official capacity
as a member of the New York State Board of Regents,
SUSAN W. MITTLER, in her official capacity as a member
of the New York State Board of Regents, FRANCES G.
WILLS, in her official capacity as a member of the New York
State Board of Regents, ARAMINA VEGA FERRER, in her
official capacity as a member of the New York State Board of
Regents, SHINO TANIKAWA, in her official capacity as a
member of the New York State Board of Regents, ROGER P.
CATANIA, in his official capacity as a member of the New
York State Board of Regents, ADRIAN I. HALE, in his
official capacity as a member of the New York State Board of
Regents.

                              Defendants-Respondents.
       PLEASE TAKE NOTICE that Plaintiffs-Petitioners by their attorneys, Sokoloff Stern

LLP hereby appeal to the United States Court of Appeals for the Second Circuit from the portion

of the attached Memorandum and Order dated March 27, 2025, denying Plaintiffs-Petitioners’

motion for a preliminary injunction.

Dated: Carle Place, New York
       April 28, 2025

                                                          SOKOLOFF STERN LLP
                                                          Attorneys for Plaintiffs-Petitioners



                                                   By:    STEVEN C. STERN
                                                          CHELSEA WEISBORD
                                                          179 Westbury Avenue
                                                          Carle Place, NY 11514
                                                          (516) 334-4500
                                                          File No. 230195


TO: All Counsels of Record (via ECF)




                                              2
Case 2:23-cv-07052-MKB-LGD                  Document 60            Filed 03/27/25   Page 1 of 89 PageID #:
                                                   859



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------
 MASSAPEQUA UNION FREE SCHOOL
 DISTRICT, MASSAPEQUA UNION FREE
 SCHOOL DISTRICT BOARD OF EDUCATION,
 and JEANINE CARAMORE, in her capacity as a                             MEMORANDUM & ORDER
 Board of Education Member and a Resident/Parent                        23-CV-7052 (MKB)
 of the School Community,

                                     Plaintiffs,

                            v.

 NEW YORK STATE BOARD OF REGENTS,
 LESTER W. YOUNG, JR., in his official capacity
 as Chancellor of the New York State Board of
 Regents, JOSEPHINE VICTORIA FINN, in her
 official capacity as Vice Chancellor of the New
 York State Board of Regents, ROGER TILLES, in
 his official capacity as a member of the New York
 State Board of Regents, CHRISTINE D. CEA, in
 her official capacity as a member of the New York
 State Board of Regents, WADE S. NORWOOD, in
 his official capacity as a member of the New York
 State Board of Regents, KATHLEEN M. CASHIN,
 in her official capacity as a member of the New
 York State Board of Regents, JAMES E.
 COTRELL, in his official capacity as a member of
 the New York State Board of Regents, JUDITH
 CHIN, in her official capacity as a member of the
 New York State Board of Regents, CATHERINE
 COLLINS, in her official capacity as a member of
 the New York State Board of Regents,
 ELIZABETH S. HAKANSON, in her official
 capacity as a member of the New York State Board
 of Regents, LUIS O. REYES, in his official
 capacity as a member of the New York State Board
 of Regents, SUSAN W. MITTLER, in her official
 capacity as a member of the New York State Board
 of Regents, FRANCES G. WILLS, in her official
 capacity as a member of the New York State Board
 of Regents, ARAMINA VEGA FERRER, in her
 official capacity as a member of the New York
 State Board of Regents, SHINO TANIKAWA, in
Case 2:23-cv-07052-MKB-LGD                  Document 60            Filed 03/27/25   Page 2 of 89 PageID #:
                                                   860



 her official capacity as a member of the New York
 State Board of Regents, ROGER P. CATANIA,
 in his official capacity as a member of the New
 York State Board of Regents, ADRIAN I. HALE, in
 his official capacity as a member of the New York
 State Board of Regents,

                                     Defendants.
 ---------------------------------------------------------------

 WANTAGH UNION FREE SCHOOL DISTRICT,
 WANTAGH UNION FREE SCHOOL DISTRICT
 BOARD OF EDUCATION, ANTHONY GRECO,
 in his capacity as a Board of Education Member and
 a Resident of the School Community,
 WYANDANCH UNION FREE SCHOOL
                                                                        23-CV-7299 (MKB)
 DISTRICT, WYANDANCH UNION FREE
 SCHOOL DISTRICT BOARD OF EDUCATION,
 and CHARLIE REED, in his capacity as a Board of
 Education Member and a Resident of the School
 Community,

                                     Plaintiffs,

                            v.

 NEW YORK STATE BOARD OF REGENTS,
 LESTER W. YOUNG, JR., in his official capacity
 as Chancellor of the New York State Board of
 Regents, JOSEPHINE VICTORIA FINN, in her
 official capacity as Vice Chancellor of the New
 York State Board of Regents, ROGER TILLES, in
 his official capacity as a member of the New York
 State Board of Regents, CHRISTINE D. CEA, in
 her official capacity as a member of the New York
 State Board of Regents, WADE S. NORWOOD, in
 his official capacity as a member of the New York
 State Board of Regents, KATHLEEN M. CASHIN,
 in her official capacity as a member of the New
 York State Board of Regents, JAMES E.
 COTRELL, in his official capacity as a member of
 the New York State Board of Regents, JUDITH
 CHIN, in her official capacity as a member of the
 New York State Board of Regents, CATHERINE




                                                          2
Case 2:23-cv-07052-MKB-LGD                  Document 60            Filed 03/27/25   Page 3 of 89 PageID #:
                                                   861



 COLLINS, in her official capacity as a member of
 the New York State Board of Regents,
 ELIZABETH S. HAKANSON, in her official
 capacity as a member of the New York State Board
 of Regents, LUIS O. REYES, in his official
 capacity as a member of the New York State Board
 of Regents, SUSAN W. MITTLER, in her official
 capacity as a member of the New York State Board
 of Regents, FRANCES G. WILLS, in her official
 capacity as a member of the New York State Board
 of Regents, ARAMINA VEGA FERRER, in her
 official capacity as a member of the New York
 State Board of Regents, SHINO TANIKAWA, in
 her official capacity as a member of the New York
 State Board of Regents, ROGER P. CATANIA,
 in his official capacity as a member of the New
 York State Board of Regents, ADRIAN I. HALE, in
 his official capacity as a member of the New York
 State Board of Regents,

                                     Defendants.
 ---------------------------------------------------------------

 CONNETQUOT CENTRAL SCHOOL DISTRICT,
 CONNETQUOT CENTRAL SCHOOL DISTRICT
 BOARD OF EDUCATION, and JACLYN
 NAPOLITANO-FURNO, in her capacity as a
 Board of Education Member and a Resident/Parent
 of the School Community,
                                                                        23-CV-7696 (MKB)
                                     Plaintiffs,

                            v.

 NEW YORK STATE BOARD OF REGENTS,
 LESTER W. YOUNG, JR., in his official capacity
 as Chancellor of the New York State Board of
 Regents, JOSEPHINE VICTORIA FINN, in her
 official capacity as Vice Chancellor of the New
 York State Board of Regents, ROGER TILLES, in
 his official capacity as a member of the New York
 State Board of Regents, CHRISTINE D. CEA, in
 her official capacity as a member of the New York
 State Board of Regents, WADE S. NORWOOD, in
 his official capacity as a member of the New York



                                                          3
Case 2:23-cv-07052-MKB-LGD                                  Document 60                  Filed 03/27/25               Page 4 of 89 PageID #:
                                                                   862



 State Board of Regents, KATHLEEN M. CASHIN,
 in her official capacity as a member of the New
 York State Board of Regents, JAMES E.
 COTRELL, in his official capacity as a member of
 the New York State Board of Regents, JUDITH
 CHIN, in her official capacity as a member of the
 New York State Board of Regents, CATHERINE
 COLLINS, in her official capacity as a member of
 the New York State Board of Regents,
 ELIZABETH S. HAKANSON, in her official
 capacity as a member of the New York State Board
 of Regents, LUIS O. REYES, in his official
 capacity as a member of the New York State Board
 of Regents, SUSAN W. MITTLER, in her official
 capacity as a member of the New York State Board
 of Regents, FRANCES G. WILLS, in her official
 capacity as a member of the New York State Board
 of Regents, ARAMINA VEGA FERRER, in her
 official capacity as a member of the New York
 State Board of Regents, SHINO TANIKAWA, in
 her official capacity as a member of the New York
 State Board of Regents, ROGER P. CATANIA,
 in his official capacity as a member of the New
 York State Board of Regents, ADRIAN I. HALE, in
 his official capacity as a member of the New York
 State Board of Regents,

                                                   Defendants.
 ---------------------------------------------------------------
 MARGO K. BRODIE, United States District Judge:

 I.         Background ............................................................................................................................. 8
       a.         Factual background ............................................................................................................. 8
            i.       Part 123 ........................................................................................................................... 9
            ii.      Additional guidance ...................................................................................................... 10
            iii. Actions taken by each school after Part 123 ................................................................. 11
       b.         Procedural history and oral rulings by the Court .............................................................. 12
 II.        Discussion ............................................................................................................................. 13
       a.         Standards of review........................................................................................................... 13
            i.       12(b)(1) ......................................................................................................................... 13
            ii.      12(b)(6) ......................................................................................................................... 14



                                                                               4
Case 2:23-cv-07052-MKB-LGD                                Document 60                Filed 03/27/25                Page 5 of 89 PageID #:
                                                                 863



    b.         Defendants’ motion to dismiss.......................................................................................... 15
         i. School District Plaintiffs’ and School Board Plaintiffs’ capacity to challenge Part 123
         as impermissibly vague and overbroad ................................................................................. 15
               1.        Fourteenth Amendment capacity to sue .................................................................... 22
               2.        First Amendment capacity to sue .............................................................................. 25
         ii. Individual Board Member Plaintiffs’ Fourteenth Amendment-based vagueness claims
         and First Amendment-based overbreadth claims .................................................................. 29
               1. Individual Board Member Plaintiffs’ Fourteenth Amendment-based as-applied
               vagueness challenge .......................................................................................................... 29
                    A.      Level of scrutiny ................................................................................................... 34
                    B.      Adequate notice .................................................................................................... 35
                    C.      Arbitrary and discriminatory enforcement............................................................ 38
               2. Individual Board Member Plaintiffs’ Fourteenth Amendment-based facial vagueness
               challenge ........................................................................................................................... 42
               3. Individual Board Member Plaintiffs’ First Amendment-based facial overbreadth
               challenge to Part 123......................................................................................................... 44
         iii.            Individual Board Member Plaintiffs’ First Amendment free speech claims ............ 52
               1.        Indigenous names, logos, and mascots as government speech ................................. 52
               2.        Individual Board Member Plaintiffs’ conduct as government speech ...................... 58
         iv.             Constitutional separation of powers claims .............................................................. 71
    c.         Preliminary injunction ...................................................................................................... 78
         i.         Likelihood of success or sufficiently serious questions going to the merits................. 80
         ii.        Irreparable harm ............................................................................................................ 82
         iii. Balance of harms ........................................................................................................... 85
         iv. Public interest ................................................................................................................ 87
 III.          Conclusion ........................................................................................................................ 88

               Plaintiffs Massapequa Union Free School District (“Massapequa UFSD”), the

 Massapequa UFSD Board of Education (“Massapequa Board”), and Jeanine Caramore,

 commenced this action on September 22, 2023, and filed an Amended Complaint on January 16,

 2024 against Defendants the New York State Board of Regents and Chancellor Lester W. Young,

 Jr., Vice Chancellor Josephine Victoria Finn, and members of the Board of Regents Roger Tilles,

 Christine D. Cea, Wade S. Norwood, Kathleen M. Cashin, James E. Cotrell, Judith Chin,



                                                                            5
Case 2:23-cv-07052-MKB-LGD           Document 60       Filed 03/27/25     Page 6 of 89 PageID #:
                                            864



 Catherine Collins, Elizabeth S. Hakanson, Luis O. Reyes, Susan W. Mittler, Frances G. Wills,

 Aramina Vega Ferrer, Shino Tanikawa, Roger P. Catania, and Adrian I. Hale (collectively, the

 “Individual Defendants”) (the “Massapequa Matter’’). (Complaint (“Compl.”), Docket Entry

 No. 2; Amended Complaint (“Am. Compl.”), Docket Entry No. 24.)

        Plaintiffs Wantagh Union Free School District (“Wantagh UFSD”), the Wantagh UFSD

 Board of Education (“Wantagh Board”), Anthony Greco, the Wyandanch Union Free School

 District (“Wyandanch UFSD”), the Wyandanch UFSD Board of Education (“Wyandanch

 Board”), and Charlie Reed commenced this action on September 29, 2023, and filed an Amended

 Complaint on January 16, 2024 against the New York State Board of Regents and Individual

 Defendants (the “Wantagh/Wyandanch Matter”). (23-CV-7299 Compl., Docket Entry No. 1; 23-

 CV-7299 Am. Compl., Docket Entry No. 24.)

        Plaintiffs Connetquot Central School District (“Connetquot CSD”), the Connetquot CSD

 Board of Education (“Connetquot Board”), and Jaclyn Napolitano-Furno commenced this action

 on October 16, 2023, and filed an Amended Complaint on January 16, 2024 against the New

 York State Board of Regents and Individual Defendants (the “Connetquot Matter”).1 (23-CV-

 7696 Compl., Docket Entry No. 1; 23-CV-7696 Am. Compl., Docket Entry No. 20.)

        Plaintiffs Massapequa UFSD, Wantagh UFSD, Wyandanch UFSD, and Connetquot CSD

 (collectively, the “School District Plaintiffs”), Plaintiffs Massapequa Board, Wantagh Board,



        1
            Plaintiffs Amityville Union Free School District (“Amityville UFSD”), Amityville
 UFSD Board of Education (“Amityville Board”), and Jeannette Santos (collectively, “Amityville
 Plaintiffs”) commenced an action on October 26, 2023, and amended their Complaint on January
 16, 2024 against Defendants the New York State Board of Regents and Individual Defendants
 (the “Amityville Matter”). (23-CV-8011 Compl., Docket Entry No. 1; 23-CV-8011 Am. Compl.,
 Docket Entry No. 20.) On October 14, 2024, Amityville Plaintiffs filed a notice of
 discontinuance, (23-CV-8011 Notice of Voluntary Dismissal, Docket Entry No. 42), and, on
 October 15, 2024, the Court granted the notice of discontinuance and terminated the Amityville
 Matter, (23-CV-8011 Order dated Oct. 15, 2024).


                                                 6
Case 2:23-cv-07052-MKB-LGD           Document 60       Filed 03/27/25      Page 7 of 89 PageID #:
                                            865



 Wyandanch Board, and Connetquot Board (collectively, the “School Board Plaintiffs”), and

 Plaintiffs Caramore, Greco, Reed, and Napolitano-Furno (collectively, the “Individual Board

 Member Plaintiffs”) challenge Part 123 of Title 8 of the Regulations of the Commissioner of

 Education in the Official Compilation of Codes, Rules and Regulations of the State of New

 York.2 N.Y. Comp. Codes R. & Regs., tit. 8 (“8 NYCRR”), §§ 123.1–123.5 (“Part 123”). In the

 Amended Complaint, Plaintiffs allege (1) pursuant to Article 78 of the New York Civil Practice

 Law and Rules (“CPLR”), Part 123 should be nullified because its adoption did not adhere to the

 rulemaking requirements set forth in the State Administrative Procedure Act (“SAPA”); (2)

 pursuant to Article 78 of the CPLR, Part 123 should be nullified because in passing Part 123, the

 New York State Education Department (“SED”) exceeded its rulemaking authority in violation

 of SAPA; (3) Part 123 violates the separation of powers doctrines of the United States and New

 York State Constitutions; (4) Part 123 is impermissibly vague and overbroad under the First and

 Fourteenth Amendments; and (5) Part 123.5 impermissibly restricts Individual Board Member

 Plaintiffs’ speech in violation of the First Amendment and Article I, Section 8, of the New York

 State Constitution by prohibiting them from displaying, on school grounds or at school functions,

 a prohibited Indigenous team name, logo, and mascots.

        Defendants separately move to dismiss Plaintiffs’ claims, and Plaintiffs move for a

 preliminary injunction.3 For the reasons set forth below, the Court grants Defendants’ motion to

 dismiss the Amended Complaint and denies Plaintiffs’ motion for a preliminary injunction.


        2
          Except as to Individual Board Member Plaintiffs’ First Amendment free speech claims,
 the Court interprets Plaintiffs’ Amended Complaint as a challenge to Part 123 in full.
        3
           Although the parties filed individual motion papers in each matter, because the
 briefings are similar, the Court cites to the motion papers filed in the Massapequa Matter (23-
 CV-7052) unless otherwise indicated. (Defs.’ Mot. to Dismiss (“Defs.’ Mot.”), Docket Entry No.
 40; Defs.’ Mem. in Supp. of Defs.’ Mot. (“Defs.’ Mem.”), Docket Entry No. 40-1; Background &



                                                 7
Case 2:23-cv-07052-MKB-LGD           Document 60        Filed 03/27/25     Page 8 of 89 PageID #:
                                            866



    I.   Background

             a.   Factual background

         In April of 2001, then-SED Commissioner Richard Mills released a memorandum to all

 public school districts in the State of New York that discussed a study conducted by the SED

 regarding the impact of New York public schools’ use of Native American names, symbols, and

 mascots, and requested that boards of education in New York end the use of Native American

 mascots as soon as possible and agree to discuss the matter if they were not ready to act

 immediately.4 (Am. Compl. ¶ 73; 2001 Mills Memo 2.)

         In 2010, the New York State Legislature enacted the Dignity for All Students Act

 (“DASA”). N.Y. Educ. L. §§ 10–18. (Am. Compl. ¶ 58.) “DASA prohibits bullying[,]

 harassment, discrimination, and cyberbullying against students in school or at school functions

 based on their actual or perceived membership in a protected class.” (Id. ¶ 59.)


 Frequently Asked Questions Regarding Part 123 of the Reguls. of the Comm’r of Educ. Relating
 to Prohibiting the Use of Indigenous Names, Mascots, & Logos by Pub. Schs. (May 2023)
 (“FAQ Guidance”), annexed to Defs.’ Mem. as Ex. 1, Docket Entry No. 40-3; Mem. from
 Richard P. Mills to Presidents of Bds. of Educ. & Superintendents of Schs. (Apr. 5, 2001) (“2001
 Mills Memo”), annexed to Defs.’ Mem. as Ex. 4, Docket Entry No. 40-6; Pls.’ Opp’n to Defs.’
 Mot. (“Pls.’ Opp’n”), Docket Entry No. 41-13; Defs.’ Reply in Supp. of Defs.’ Mot. (“Defs.’
 Reply”), Docket Entry No. 42; Defs.’ Suppl. Mem. in Supp. of Defs.’ Mot. (“Defs.’ Suppl.
 Mem.”), Docket Entry No. 52; Pls.’ Suppl. Mem. in Opp’n to Defs.’ Mot. (“Pls.’ Suppl. Mem.”),
 Docket Entry No. 54; Defs.’ Suppl. Reply in Supp. of Defs.’ Mot. (“Defs.’ Suppl. Reply”),
 Docket Entry No. 56.) Similarly, although the parties filed individual motion papers in each
 matter, because the preliminary injunction briefings are similar, the Court cites to the motion
 papers filed in the Massapequa Matter (23-CV-7052) unless otherwise indicated. (Letter Mot.
 for Prelim. Inj. & Summ. J. (“Pls.’ Conf. Mem.”), Docket Entry No. 43; Defs.’ Mem. in Opp’n to
 Pls.’ Mot. (“Defs.’ Conf. Mem.”), Docket Entry No. 45; Pls.’ Suppl. Mem. in Supp. of Pls.’ Mot.
 (“Pls.’ Inj. Mem.”), Docket Entry No. 53; Defs.’ Suppl. Mem. in Opp’n to Pls.’ Mot., (“Defs.’
 Inj. Mem.”), Docket Entry No. 55; Pls.’ Suppl. Mem. in Reply to Defs.’ Suppl. Inj. Mem. (“Pls.’
 Inj. Mem. Reply”), Docket Entry No. 58.)
         4
           The Court assumes the truth of the factual allegations in the Amended Complaints for
 the purpose of deciding Defendants’ motion to dismiss and Plaintiffs’ motion for a preliminary
 injunction.


                                                 8
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 9 of 89 PageID #:
                                             867



        On November 17, 2022, SED Senior Deputy Commissioner for Education Policy, James

 Baldwin, released a memorandum referencing the development of regulations that would clarify

 a new policy prohibiting public school districts from using Indigenous team names, imagery, and

 mascots. (See id. ¶¶ 76–77.) Two weeks later, on December 1, 2022, the Board of Regents

 announced that the proposed regulation would be presented for permanent adoption at the April

 of 2023 Regents meeting and become effective after publication of the proposed amendment and

 the subsequent sixty-day mandatory public comment period. (Id. ¶ 80.) On December 28, 2022,

 the SED released a draft of the regulation, Part 123, which triggered the SAPA-mandated sixty-

 day public comment period. (Id. ¶¶ 80, 82.) On April 18, 2023, the Board of Regents voted to

 adopt Part 123, and Part 123 became effective on May 3, 2023. (Id. ¶ 85.)

                   i.     Part 123

        Part 123 provides that “no public school in the State of New York may utilize or display

 an Indigenous name, logo, or mascot other than for purposes of classroom instruction.” 8

 NYCRR § 123.2. Part 123 defines “Indigenous name, logo, or mascot” as “a name, symbol, or

 image that depicts or refers to Indigenous persons, tribes, nations, individuals, customs, symbols,

 or traditions, including actual or stereotypical aspects of Indigenous cultures, used to represent a

 public school, including but not limited to such schools[’] sports teams.” Id. § 123.1. The

 regulation “does not [apply to] a public school, school building, or school district named after an

 Indigenous tribe.” Id.

        Part 123 required boards of education in New York to “commit, via resolution, to

 eliminating use of all Indigenous names, logos, and mascots by the end of the 2022–[20]23

 school year.” Id. § 123.3(a). These resolutions were required to “identify a plan to eliminate all

 use of the prohibited name, logo, or mascot within a reasonable time” which could be “no later




                                                  9
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 10 of 89 PageID #:
                                              868



  than the end of the 2024–2025 school year.” Id. The deadline for these resolutions was June 30,

  2023. (Am. Compl. ¶ 86.) Part 123 further requires public schools to “prohibit school officers

  and employees when located on school property or at a school function from utilizing or

  promoting any Indigenous name, logo, or mascot.” 8 NYCRR § 123.5.

         Part 123 permits several exceptions. First, it allows New York public schools to utilize

  an Indigenous name, logo, or mascot if “a written agreement exist[ed] prior to the effective date

  of [Part 123] between a federally recognized tribal nation within the State of New York or a New

  York State recognized tribal nation and a public school permitting the use of an Indigenous

  name, mascot, or logo that is culturally affiliated with such tribe.” Id. § 123.4(b). Second, it

  allows recognized tribal nations to “choos[e] to use an Indigenous name, logo, or mascot for a

  sports team comprised of its tribal members, including . . . a tribal school or intramural league.”

  Id. § 123.4(a). Third, it allows “any school officer or employee who is a member of a tribal

  nation” to “utiliz[e] or promot[e] an Indigenous name, logo, or mascot of such tribal nation.” Id.

  § 123.5.

                    ii. Additional guidance

         In May of 2023, SED issued further guidance in the form of a frequently asked questions

  document.5 (FAQ Guidance 3; 23-CV-7696 Am. Compl. ¶ 130; 23-CV-7299 Am. Compl. ¶



         5
            Defendants provided the FAQ Guidance as an exhibit to their motion. On a motion to
  dismiss, “the district court is normally required to look only to the allegations on the face of the
  complaint” but “may consider documents that ‘are attached to the complaint,’ ‘incorporated in it
  by reference,’ ‘integral’ to the complaint, or the proper subject of judicial notice.” United States
  v. Strock, 982 F.3d 51, 63 (2d Cir. 2020) (quoting Roth v. Jennings, 489 F.3d 499, 509 (2d Cir.
  2007)); see Nicosia v. Amazon.com, Inc., 834 F.3d 220, 230–31 (2d Cir. 2016) (holding that
  courts may consider on a motion to dismiss “any written instrument attached to [the complaint]
  as an exhibit or any statements or documents incorporated in it by reference” and other
  documents “integral” to the complaint (first quoting Chambers v. Time Warner Inc., 282 F.3d
  147, 152 (2d Cir. 2002); and then quoting DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111



                                                   10
Case 2:23-cv-07052-MKB-LGD            Document 60       Filed 03/27/25      Page 11 of 89 PageID #:
                                              869



  159.) See also https://www.nysed.gov/sites/default/files/programs/indigenous-

  education/indigenous-mascot-regulation-background-and-faq.pdf. The FAQ Guidance clarified

  that districts that never used Indigenous imagery in connection with their team name, logo, or

  mascot would not be required to change it, but that districts that have at any time associated with

  Indigenous imagery would have to implement changes under Part 123. (FAQ Guidance 6; 23-

  CV-7696 Am. Compl. ¶ 130; 23-CV-7299 Am. Compl. ¶ 159.) The FAQ Guidance also

  provided an email address through which questions could be sent to the SED Office of

  Indigenous Education. (FAQ Guidance 4.)

                    iii. Actions taken by each school after Part 123

         The Massapequa, Wantagh, and Wyandanch Boards of Education each passed resolutions

  in accordance with Part 123 to eliminate their use of Indigenous names, mascots, or logos by the

  end of the 2024–2025 school year. (Am. Compl. ¶¶ 87–88; 23-CV-7299 Am. Compl. ¶¶ 102–

  05, 124–25.) The Connetquot School District did not pass a resolution pledging to eliminate

  their use of Indigenous names, mascots, and logos in adherence with Part 123, but did issue a

  resolution setting forth what actions the Board of Education would take if the district were

  ultimately required to comply with the regulation. (23-CV-7696 Am. Compl. ¶¶ 109–12.)




  (2d Cir. 2010))); see also, e.g., Glob. Network Commc’ns., Inc. v. City of New York, 458 F.3d
  150, 156 (2d Cir. 2006) (finding reversible error where the district court considered defendant’s
  submission of a trial transcript in an unrelated proceeding and relied on it to “make a finding of
  fact that controverted the plaintiff’s own factual assertions set out in its complaint”). The FAQ
  Guidance is referenced in Amended Complaint for the Connetquot and Wantagh/Wyandanch
  Matters, (23-CV-7696 Am. Compl. ¶ 130; 23-CV-7299 Am. Compl. ¶ 159), and Plaintiffs cite to
  the document in its opposition, (see Pls.’ Opp’n 6). The Court therefore considers the FAQ
  Guidance as integral to the Amended Complaints.



                                                  11
Case 2:23-cv-07052-MKB-LGD           Document 60        Filed 03/27/25     Page 12 of 89 PageID #:
                                             870



             b. Procedural history and oral rulings by the Court

         On September 6, 2024, Defendants moved to dismiss all actions for failure to state a

  claim, lack of capacity, and lack of jurisdiction. (Defs.’ Mot 2.) On September 13, 2024,

  Plaintiffs sought a pre-motion conference to move for summary judgment and a preliminary

  injunction, (Pls.’ Conf. Mem. 1), which Defendants opposed, (Defs.’ Conf. Mem. 1–3).

         On October 22, 2024, the Court heard oral arguments from the parties regarding

  Defendants’ motion to dismiss and Plaintiffs’ proposed motions for summary judgment and a

  preliminary injunction. (Min. Order dated Oct. 22, 2024.) During the conference, the Court also

  partially ruled on Defendants’ motion to dismiss. For the reasons discussed on the record, the

  Court declined to exercise supplemental jurisdiction over Plaintiffs’ claims under Article 78 of

  the CPLR that (1) Part 123 should be nullified because its adoption did not adhere to the

  rulemaking requirements set forth in SAPA, and (2) in passing Part 123, the SED exceeded its

  rulemaking authority in violation of SAPA, and dismissed both claims without prejudice.6 (Id.)

         The Court reserved decision on Plaintiffs’ claims that (1) Part 123 is impermissibly vague

  and overbroad under the First and Fourteenth Amendments; (2) Part 123.5 impermissibly

  restricts Individual Board Member Plaintiffs’ speech in violation of the First Amendment and

  Article I, Section 8, of the New York State Constitution because it prohibits them from

  displaying, on school grounds or at school functions, a prohibited Indigenous team name, logo,

  and mascots;7 and (3) Part 123 violates the separation of powers doctrines of the United States


         6
            As discussed on the record, the Court determined that the Article 78 proceedings were
  time-barred. (Tr. of Mot. Hr’g (“Hr’g Tr.”) 28:14–29:12.) However, at Plaintiffs’ request, the
  Court declined to exercise supplemental jurisdiction over Plaintiffs’ claims. (Min. Order dated
  Oct. 22, 2024; Hr’g Tr. 29:13–30:12.)
         7
          The Court also found that there was no basis for Plaintiffs to move for summary
  judgment because the legal issues Plaintiffs sought to present on summary judgment were the



                                                  12
Case 2:23-cv-07052-MKB-LGD              Document 60        Filed 03/27/25      Page 13 of 89 PageID #:
                                                871



  and New York State Constitutions. (Id.) The Court directed the parties to file briefing on any

  additional legal arguments regarding Plaintiffs’ motion for preliminary injunction. (Id.)

            On November 5, 2024, Plaintiffs filed a supplemental memorandum in support of their

  motion for preliminary injunction. (Pls.’ Inj. Mem.) On November 19, 2024, Defendants filed a

  supplemental memorandum in opposition to Plaintiffs’ motion for preliminary injunction, (Defs.’

  Inj. Mem.), and on December 6, 2024, Plaintiffs filed a reply to Defendants’ supplemental

  memorandum in opposition to Plaintiffs’ motion for preliminary injunction, (Pls.’ Inj. Mem.

  Reply).

     II. Discussion

               a.   Standards of review

                    i.   12(b)(1)

            A district court may dismiss an action for lack of subject matter jurisdiction pursuant to

  Rule 12(b)(1) of the Federal Rules of Civil Procedure when the court “lacks the statutory or

  constitutional power to adjudicate it.” Huntress v. United States, 810 F. App’x 74, 75 (2d Cir.

  2020) (quoting Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000)); Cortlandt St.

  Recovery Corp. v. Hellas Telecomms., S.À.R.L., 790 F.3d 411, 416–17 (2d Cir. 2015) (quoting

  Makarova, 201 F.3d at 113); Shabaj v. Holder, 718 F.3d 48, 50 (2d Cir. 2013) (per curiam)

  (quoting Aurecchione v. Schoolman Transp. Sys., Inc., 426 F.3d 635, 638 (2d Cir. 2005)).

  “‘[C]ourt[s] must take all facts alleged in the complaint as true and draw all reasonable

  inferences in favor of [the] plaintiff,’ but ‘jurisdiction must be shown affirmatively, and that

  showing is not made by drawing from the pleadings inferences favorable to the party asserting



  same legal issues presented in the motions to dismiss, (Hr’g Tr. 30:22–31:24, 62:6–9), and
  therefore denied Plaintiffs’ request to move for summary judgment, (Min. Order dated Oct. 22,
  2024; Hr’g Tr. 61:12–13).

                                                     13
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 14 of 89 PageID #:
                                               872



  it.’” Morrison v. Nat’l Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (citation omitted) (first

  quoting Nat. Res. Def. Council v. Johnson, 461 F.3d 164, 171 (2d Cir. 2006); and then quoting

  APWU v. Potter, 343 F.3d 619, 623 (2d Cir. 2003)), aff’d, 561 U.S. 247 (2010). Ultimately, “the

  party asserting subject matter jurisdiction ‘has the burden of proving by a preponderance of the

  evidence that it exists.’” Tandon v. Captain’s Cove Marina of Bridgeport, Inc., 752 F.3d 239,

  243 (2d Cir. 2014) (quoting Makarova, 201 F.3d at 113); see also Suarez v. Mosaic Sales Sols.

  US Operating Co., 720 F. App’x 52, 53 (2d Cir. 2018) (“[T]he party asserting subject matter

  jurisdiction must demonstrate its existence by a preponderance of the evidence.” (citing

  Morrison, 547 F.3d at 170)); Clayton v. United States, No. 18-CV-5867, 2020 WL 1545542, at

  *3 (E.D.N.Y. Mar. 31, 2020) (quoting Tandon, 752 F.3d at 243); Fed. Deposit Ins. Corp. v. Bank

  of N.Y. Mellon, 369 F. Supp. 3d 547, 552 (S.D.N.Y. 2019) (quoting Tandon, 752 F.3d at 243).

                  ii. 12(b)(6)

          In reviewing a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

  Procedure, a court “must construe [the Complaint] liberally, accepting all factual allegations

  therein as true and drawing all reasonable inferences in the plaintiff[’s] favor.” Sacerdote v. N.Y.

  Univ., 9 F.4th 95, 106–07 (2d Cir. 2021) (citing Palin v. N.Y. Times Co., 940 F.3d 804, 809 (2d

  Cir. 2019)); see also Vaughn v. Phoenix House N.Y. Inc., 957 F.3d 141, 145 (2d Cir. 2020)

  (quoting Chambers v. Time Warner, Inc., 282 F.3d 147, 152 (2d Cir. 2002)). A complaint must

  plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 570 (2007); Bacon v. Phelps, 961 F.3d 533, 540 (2d Cir. 2020) (quoting

  Twombly, 550 U.S. at 570). “A claim is plausible ‘when the plaintiff pleads factual content that

  allows the court to draw the reasonable inference that the defendant is liable for the misconduct

  alleged.’” Matson v. Bd. of Educ., 631 F.3d 57, 63 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556




                                                    14
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 15 of 89 PageID #:
                                              873



  U.S. 662, 678 (2009)); see also Roe v. St. John’s Univ., 91 F.4th 643, 651 (2d Cir. 2024) (quoting

  Matson, 631 F.3d at 63); Cavello Bay Reinsurance Ltd. v. Shubin Stein, 986 F.3d 161, 165 (2d

  Cir. 2021) (quoting Iqbal, 556 U.S. at 678). Although all allegations contained in the complaint

  are assumed to be true, this tenet is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678;

  Roe, 91 F.4th at 651 (“Although all factual allegations contained in the complaint are assumed to

  be true, this rule does not extend ‘to legal conclusions. Threadbare recitals of the elements of a

  cause of action, supported by mere conclusory statements, do not suffice.’” (quoting Iqbal, 556

  U.S. at 678)).

            b. Defendants’ motion to dismiss

         Defendants move to dismiss Plaintiffs’ remaining claims: (1) Part 123 is impermissibly

  vague and overbroad under the First and Fourteenth Amendments; (2) Part 123 impermissibly

  restricts Individual Board Member Plaintiffs’ speech in violation of the First Amendment and

  Article I, Section 8, of the New York State Constitution by prohibiting them from displaying, on

  school grounds or at school functions, a prohibited Indigenous team name, logo, and mascots;

  and (3) Part 123 violates the separation of powers doctrines of the United States and New York

  State Constitutions. Before addressing each claim, the Court first addresses Defendants’

  argument that School District Plaintiffs and School Board Plaintiffs lack capacity to sue.

                    i.   School District Plaintiffs’ and School Board Plaintiffs’ capacity to
                         challenge Part 123 as impermissibly vague and overbroad

         Defendants argue that School District Plaintiffs and School Board Plaintiffs lack capacity

  to sue New York state officials for violations of the First Amendment or Fourteenth Amendment

  because they are municipal entities. (Defs.’ Mem. 17–18, 24–25.) First, Defendants argue that

  none of the first three exceptions to New York’s capacity-to-sue rule — express statutory

  authority, proprietary interest, and interference with a municipality’s home rule powers — apply.



                                                  15
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 16 of 89 PageID #:
                                              874



  (Id. at 18.) Defendants argue these exceptions are inapplicable because “Plaintiffs assert no

  statutory right to sue,” “do not have a proprietary interest in a specific fund of monies,” and

  “assert [no] claim that Part 123 violates the home rule provision of the New York Constitution.”

  (Id.) Second, Defendants contend that the fourth exception — the constitutional proscription

  exception — is inapplicable because “complying with Part 123 would not force Plaintiffs to

  violate any constitutional proscriptions.” (Id.) In support, Defendants argue that the

  constitutional proscription exception to the capacity-to-sue rule is inapplicable because “the

  [S]chool [D]istrict Plaintiffs and [S]chool [B]oard Plaintiffs do not allege that [sections] 123.1

  through 123.4 offend the First Amendment,” rather, the First Amendment “claim is asserted only

  by the [I]ndividual [Board Member] Plaintiffs, in their personal capacity.” (Defs.’ Reply 10–11.)

  Defendants also argue that, “even if school districts’ compliance with [section] 123.5 could force

  them to violate the First Amendment rights of school officials and employees,” School District

  Plaintiffs and School Board Plaintiffs would still lack capacity to sue because they do not allege

  that the provisions they challenge force them to violate the First Amendment. (Id.) Third,

  Defendants argue that School District Plaintiffs and School Board Plaintiffs lack capacity to

  bring a Fourteenth Amendment-based vagueness claim because “municipalities and municipal

  officials are not ‘persons’ within the meaning” of the Fourteenth Amendment.8 (Defs.’ Mem.

  24–25.)



         8
            Defendants do not challenge Individual Board Member Plaintiffs’ personal capacity to
  sue under the separation of power doctrines of the United States or New York State
  Constitutions, the First Amendment, or the Fourteenth Amendment. (See generally Defs.’ Mem.
  16–29; Hr’g Tr. 20:24–21:8.) The Court therefore does not address their personal capacity to sue
  in this Memorandum and Order, and Individual Board Member Plaintiffs’ arguments made in
  their personal capacity are addressed on the merits. In addition, although Defendants make no
  argument as to Individual Board Member Plaintiffs’ capacity to sue in their official capacity, the
  Court finds that, as municipal officials, Individual Board Member Plaintiffs “lack capacity to



                                                   16
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 17 of 89 PageID #:
                                              875



         Plaintiffs acknowledge that municipal entities “generally lack capacity to attack actions

  by the State and its Legislature on constitutional grounds,” (Pls.’ Opp’n 21–23), but argue that

  the fourth exception to the capacity-to-sue rule — the constitutional proscription exception —

  applies to their claims for violations of the First and Fourteenth Amendments, (id. at 22).9 In

  support, Plaintiffs argue that while municipal entities “may not assert a substantive claim for

  protection of their rights under the Fourteenth Amendment,” municipal entities “can [still]

  challenge a state regulation under the Fourteenth Amendment.” (Id. at 22–23.) Plaintiffs further

  argue that complying with Part 123 “would result in a violation of school officials and

  employees’ First Amendment rights” or require them to “face draconian penalties” such as “the

  withholding of State Aid and/or removal of school officers.”10 (Id. at 22.)




  mount constitutional challenges to acts of the State and State legislation” in their official
  capacity. See In re World Trade Ctr. Lower Manhattan Disaster Site Litig. (“In re World Trade
  Ctr. I”), 846 F.3d 58, 63 (2d Cir. 2017) (“[M]unicipalities and . . . their officers lack capacity to
  mount constitutional challenges to acts of the State and State legislation.” (quoting City of New
  York v. State of New York, 86 N.Y.2d 286, 291 (1995))); Blakeman v. James, No. 24-CV-1655,
  2024 WL 3201671, at *12 (E.D.N.Y. Apr. 4, 2024) (“Municipal officials . . . suffer the same lack
  of capacity to sue the State with the municipal corporate bodies they represent.” (quoting City of
  New York, 86 N.Y.2d at 291)).
         9
            School District Plaintiffs and School Board Plaintiffs only rely on the fourth exception
  — the constitutional proscription exception — to New York’s capacity-to-sue rule, and the Court
  therefore only addresses this exception.
         10
             Defendants further contend that School District Plaintiffs and School Board Plaintiffs
  lack capacity to sue New York state officials for violations of a separation of powers doctrine
  under the United States Constitution. (Defs.’ Opp’n 16–18.) Plaintiffs fail to make any
  argument in support of School District Plaintiffs’ and School Board Plaintiffs’ capacity to sue
  under the United States Constitution separation of powers doctrine. Plaintiffs also cite no cases
  where the federal separation of powers doctrine has been used to support municipal capacity to
  sue, and the Court is not aware of any. The Court therefore does not address this unsupported
  claim as asserted by the School District Plaintiffs, School Board Plaintiffs, and Individual Board
  Member Plaintiffs in their official capacity. The Court does address the separation of powers
  claim brought under the United States Constitution by Individual Board Member Plaintiffs in
  their personal capacity. (See infra n.27.)


                                                   17
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 18 of 89 PageID #:
                                               876



          Legal capacity is governed by Federal Rule of Civil Procedure 17(b). See La Russo v. St.

  George’s Univ. Sch. of Med., 747 F.3d 90, 95 (2d Cir. 2014). “Rule 17(b) of the Federal Rules

  of Civil Procedure provides . . . that state law governs whether a party has capacity to be sued.”11

  Id. “Rule 17(b) [of the Federal Rules of Civil Procedure] provides rules for determining the

  capacity to sue or be sued of ‘an individual,’ ‘a corporation,’ and ‘all other parties.’”

  Revitalizing Auto Cmtys. Env’t Response Tr. v. Nat’l Grid USA, 10 F.4th 87, 97 (2d Cir. 2021)

  (quoting Fed. R. Civ. P. 17); La Russo, 747 F.3d 90, 95 (2d Cir. 2014) (“Capacity to sue or be

  sued is determined as follows: . . . (3) for all other parties [other than an individual or

  corporation], by the law of the state where the court is located . . . .” (quoting Fed. R. Civ. P.




          11
               Rule 17(b) does not expressly address municipalities/local governments, but the Court
  of Appeals for the Tenth Circuit, Eleventh Circuit, and district courts in the Second Circuit have
  interpreted Rule 17(b)(3) to include government agencies and municipalities. See Turner v.
  Homestead Police Dep’t, 828 F. App’x 541, 544 (11th Cir. 2020) (“As to the police department,
  its ability to sue or be sued is ‘determined by the law of the state in which the district court is
  held.’” (quoting Dean v. Barber, 951 F.2d 1210, 1214 (11th Cir. 1992))); Dean, 951 F.2d at 1214
  (quoting Fed. R. Civ. P. 17(b)(3)); Brodzki v. Topeka Police Dep’t, 437 F. App’x 641, 643 (10th
  Cir. 2011) (determining that, under Rule 17(b), Kansas state law governed a party’s capacity to
  sue or be sued in federal court, including parties such as “subdivisions, agencies, or departments
  of governmental entities” (citations omitted); Town of Babylon v. James, 707 F. Supp. 3d 213,
  221 (E.D.N.Y. 2023) (explaining that under Rule 17(b) “the capacity of a governmental entity to
  sue or be sued is a question of state law” (quoting Orraca v. City of New York, 897 F. Supp. 148,
  152 (S.D.N.Y. 1995)); Callahan v. City of New Haven Dep’t of Hum. Res., No. 18-CV-488, 2019
  WL 1052181, at *1 (D. Conn. Mar. 5, 2019) (finding that a municipality has capacity to sue or be
  sued after determining that Rule 17(b)(3) applies); Yonkers Comm’n on Hum. Rts. v. City of
  Yonkers, 654 F. Supp. 544, 551 (S.D.N.Y. 1987) (“The capacity of the Commission to sue or be
  sued must be determined by the law of the State of New York, in accordance with Rule 17(b) . . .
  . .”); see also Owens v. Balt. City State’s Att’ys Off., 767 F.3d 379, 393 (4th Cir. 2014)
  (explaining that “the law of the state in which the district court sits determines an entity’s
  capacity to be sued,” including entities such as the city state’s attorney’s office (citing Fed. R.
  Civ. P. 17(b))); SBT Holdings, LLC v. Town of Westminster, 547 F.3d 28, 38 (1st Cir. 2008)
  (analyzing a town conservation commission’s capacity to be sued under 17(b)(3)); Streit v. Cnty.
  of Los Angeles, 236 F.3d 552, 565 (9th Cir. 2001) (“Under Rule 17(b) of the Federal Rules of
  Civil Procedure, the Police Department’s capacity to be sued in federal court is to be determined
  by the law of California.” (quoting Shaw v. Cal. Dep’t of Alcoholic Beverage Control, 788 F.2d
  600, 604 (9th Cir. 2001)).


                                                    18
Case 2:23-cv-07052-MKB-LGD            Document 60       Filed 03/27/25      Page 19 of 89 PageID #:
                                              877



  17(b))); see also Town of Babylon v. James, 707 F. Supp. 3d 213, 221 (E.D.N.Y. 2023) (“Legal

  capacity is governed by Federal Rule of Civil Procedure 17(b).” (quoting Centro De La

  Comunidad Hispana De Locust Valley v. Town of Oyster Bay, 954 F. Supp. 2d 127, 136

  (E.D.N.Y. 2013), aff’d, 868 F.3d 104 (2d Cir. 2017))); Blakeman v. James, No. 24-CV-1655,

  2024 WL 3201671, at *11 (E.D.N.Y. Apr. 4, 2024). Under Rule 17(b), state law governs

  whether municipal entities have capacity to sue. See La Russo, 747 F.3d at 95 (“[S]tate law

  governs whether a party [other than an individual or corporation] has capacity to be sued.”);

  Town of Babylon, 707 F. Supp. 3d at 221 (explaining that under Rule 17(b) “the capacity of a

  governmental entity to sue or be sued is a question of state law” (quoting Orraca v. City of New

  York, 897 F. Supp. 148, 152 (S.D.N.Y. 1995))); see, e.g., Hartke ex rel. Est. of Hartke v.

  Bonhams & Butterfields Auctioneers Corp., No. 24-258, 2024 WL 4380315, at *1–2 (2d Cir.

  Oct. 3, 2024) (applying New York state law to affirm a judgment that the plaintiff lacked

  capacity to sue on behalf of her uncle’s estate); In re World Trade Ctr. Lower Manhattan

  Disaster Site Litig. (“In re World Trade Ctr. I”), 846 F.3d 58, 60 (2d Cir. 2017) (applying New

  York law “to determine whether . . . a public benefit corporation[] has the capacity to challenge a

  New York State claim-revival statute as unconstitutional under the New York State

  [C]onstitution”); Blakeman, 2024 WL 3201671, at *1, *12 (applying New York law to determine

  whether a municipality and municipal executive “lack[ed] the capacity to sue [the New York

  State d]efendants for the equal protection claim pled in the [c]omplaint” under the U.S.

  Constitution); see also Owens v. Balt. City State’s Att’ys Off., 767 F.3d 379, 393 (4th Cir. 2014)

  (determining that, under Rule 17(b), Maryland state law governed a party’s capacity to sue the

  state’s attorney’s office); Brodzki v. Topeka Police Dep’t, 437 F. App’x 641, 643 (10th Cir.

  2011) (determining that, under Rule 17(b), Kansas state law governed a party’s capacity to sue or




                                                  19
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25       Page 20 of 89 PageID #:
                                               878



  be sued in federal court, including parties such as “subdivisions, agencies, or departments of

  governmental entities” (citations omitted)); Dean v. Barber, 951 F.2d 1210, 1214–15 (11th Cir.

  1992) (determining that, under Rule 17(b), Alabama state law governed a party’s capacity to sue

  a county sheriff department).

          New York law provides that “municipalities and other local governmental corporate

  entities and their officers lack capacity to mount constitutional challenges to acts of the State and

  State legislation.” City of New York v. State of New York, 86 N.Y.2d 286, 289 (1995). See In re

  World Trade Ctr. Lower Manhattan Disaster Site Litig. (“In re World Trade Ctr. II”), 892 F.3d

  108, 110–11 (2d Cir. 2018) (explaining that a “public benefit corporation is treated like any other

  state entity and is subject to the ‘general rule’ that ‘state entities lack capacity to challenge the

  constitutionality of a state statute’” (quoting In re World Trade Ctr. Lower Manhattan Disaster

  Site Litig. (“In re World Trade Ctr. III”), 30 N.Y.3d 377, 383, 387 (2017))); see also Aguayo v.

  Richardson, 473 F.2d 1090, 1101 (2d Cir. 1973) (“The City lacks standing to assert

  constitutional claims against the State.”); Blakeman, 2024 WL 3201671, at *11 (“Capacity to sue

  is a threshold matter allied with, but conceptually distinct from, the question of standing”

  (quoting Sonterra Cap. Master Fund, Ltd. v. Barclays Bank PLC, 403 F. Supp. 3d 257, 267

  (S.D.N.Y. 2019))). Municipal entities are “purely creatures or agents of the State” and “cannot

  have the right to contest the actions of their principal or creator affecting them in their

  governmental capacity or as representatives of their inhabitants.” Town of Babylon, 707 F. Supp.

  3d at 222 (quoting City of New York, 86 N.Y.2d at 289–90); see also Slattery v. Hochul, 61 F.4th

  278, 287 n.1 (2d Cir. 2023) (“The Supreme Court has held that the Fourteenth Amendment

  incorporates the protections of the First Amendment against state governments.”); City of New

  York v. Richardson, 473 F.2d 923, 929 (2d Cir. 1973) (“[A] municipal corporation, created by a




                                                     20
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 21 of 89 PageID #:
                                              879



  state for the better ordering of government, has no privileges or immunities under the Federal

  Constitution which it may invoke in opposition to the will of its creator.” (quoting Williams v.

  Mayor & City Council of Balt., 289 U.S. 36, 40 (1933))); City of New Rochelle v. Town of

  Mamaroneck, 111 F. Supp. 2d 353, 364 (S.D.N.Y. 2000) (“It has long been the case that a

  municipality may not invoke the protections of the Fourteenth Amendment against its own

  state.” (citing City of Newark v. New Jersey, 262 U.S. 192, 196 (1923)). “This rule ‘flows’ from

  the recognition that ‘municipal corporate bodies — counties, towns[,] and school districts — are

  merely subdivisions of the State, created by the State for the convenient carrying out of the

  State’s governmental powers and responsibilities as its agents.’” Blakeman, 2024 WL 3201671,

  at *12 (quoting City of New York, 86 N.Y.2d at 289); In re World Trade Ctr. I, 846 F.3d at 63

  (“This rule is also a ‘necessary outgrowth of the separation of powers doctrine’” and similarly

  “expresses the extreme reluctance of courts to intrude in the political relationships between the

  Legislature, the State and its governmental subdivisions.” (citing City of New York, 86 N.Y.2d at

  296)). Municipal officials, like the municipal entities they represent, lack of capacity to sue the

  State. In re World Trade Ctr. I, 846 F.3d at 63 (explaining that “[municipal] officers lack

  capacity to mount constitutional challenges to acts of the State and State legislation.” (citing City

  of New York, 86 N.Y.2d at 289)); Merola v. Cuomo, 427 F. Supp. 3d 286, 291 (N.D.N.Y. 2019)

  (“[M]unicipalities, and, by extension, their officers, lack capacity to sue because they ‘are merely

  subdivisions of the State, created by the State for the convenient carrying out of the State’s

  governmental powers and responsibilities as its agents.’” (quoting City of New York, 86 N.Y.2d

  at 290)); Blakeman, 2024 WL 3201671, at *12 (“Municipal officials . . . suffer the same lack of

  capacity to sue the State with the municipal corporate bodies they represent.” (quoting City of

  New York, 86 N.Y.2d at 291)); City of New York, 86 N.Y.2d at 291 (“Municipal officials and




                                                   21
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 22 of 89 PageID #:
                                               880



  members of municipal administrative or legislative boards suffer the same lack of capacity to sue

  the State with the municipal corporate bodies they represent.” (citing Williams, 289 U.S. at 40)).

         The New York Court of Appeals has recognized four “narrow” exceptions to the general

  rule that municipalities and municipal officials lack capacity to mount constitutional challenges

  to State action and legislation:

                 (1) where a public corporation has express statutory authorization to
                 bring suit; (2) where the legislation adversely affects a public
                 corporation’s proprietary interest in a specific fund of moneys; (3)
                 where the statute impinges upon ‘Home Rule’ powers of a public
                 corporation constitutionally guaranteed under article IX of the New
                 York State Constitution; and (4) where the public corporation
                 asserts that, if it is obliged to comply with the statute, that very
                 compliance will force the corporation to violate a constitutional
                 proscription.

  In re World Trade Ctr. I, 846 F.3d at 63–64 (citing City of New York, 86 N.Y.2d at 291–92);

  Town of Babylon, 707 F. Supp. 3d at 222 (quoting In re World Trade Ctr. I, 846 F.3d at 63); see

  also In re World Trade Ctr. III, 30 N.Y.3d at 387 (emphasizing “that the exceptions we have

  recognized to date are narrow.”).

                             1.   Fourteenth Amendment capacity to sue

         Plaintiffs’ arguments in support of School District Plaintiffs’ and School Board Plaintiffs’

  capacity to sue under the Fourteenth Amendment, (Pls.’ Opp’n 21–23), are meritless.12

         The law is well-established that municipal entities lack capacity to sue their State creators

  under the Fourteenth Amendment. See City of Newark, 262 U.S. at 196 (“The city cannot invoke

  the protection of the Fourteenth Amendment against the state.”); Richardson, 473 F.2d at 929

  (holding that “[p]olitical subdivisions of a state may not challenge the validity of a state statute


         12
              The Court first addresses the capacity of School District Plaintiffs and School Board
  Plaintiffs to sue under the Fourteenth Amendment and subsequently addresses their capacity to
  sue under the First Amendment.



                                                    22
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 23 of 89 PageID #:
                                               881



  under the Fourteenth Amendment”); City of New Rochelle, 111 F. Supp. 2d at 364 (explaining

  that “[i]t has long been the case that a municipality may not invoke the protections of the

  Fourteenth Amendment against its own state” (citing City of Newark, 262 U.S. at 196)); Town of

  Babylon, 707 F. Supp. 3d at 218, 227 (finding the municipal “[p]laintiffs lack capacity under

  New York state law to bring this action, and this court thus lacks jurisdiction to hear any dispute”

  where the plaintiffs challenged a New York mental hygiene for, inter alia, substantive due

  process and equal protection violations); Blakeman, 2024 WL 3201671, at *1, *12 (finding that

  Nassau County and the Nassau County Executive, as municipal entities, lack capacity to sue

  New York state for a Fourteenth Amendment violation); see also City of New York, 86 N.Y.2d at

  289 (“Despite their contrary claims, the traditional principle throughout the United States has

  been that municipalities and other local governmental corporate entities and their officers lack

  capacity to mount constitutional challenges to acts of the State and State legislation.”); Cmty. Bd.

  7 of Borough of Manhattan v. Schaffer, 84 N.Y.2d 148, 155–56 (1994) (“Being artificial

  creatures of statute, [governmental] entities have neither an inherent nor a common-law right to

  sue”); Vill. of Arlington Heights v. Reg’l Transp. Auth., 653 F.2d 1149, 1152 (7th Cir. 1981)

  (explaining that the Supreme Court has held that cities cannot invoke Fourteenth Amendment

  protections against the State and “[t]that principle is well established in the federal courts” (first

  citing City of Newark, 262 U.S. at 196; and then quoting Richardson, 473 F.2d at 929)).

         Plaintiffs’ reliance on City of New Rochelle to support their claim that municipal entities

  may bring constitutional challenges under the Fourteenth Amendment is misplaced. Plaintiffs

  assert that while “municipal entities may not assert a substantive claim for protection of their

  rights under the Fourteenth Amendment,” they “can challenge a state regulation under the

  Fourteenth Amendment” and contend that City of New Rochelle disposed of the city’s Fourteenth




                                                    23
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 24 of 89 PageID #:
                                               882



  Amendment-based vagueness claim on the merits. (Pls.’ Opp’n 23.) In City of New Rochelle,

  the court determined that the city, as a municipal entity, lacked standing to challenge another

  town’s ordinance on the basis that the ordinance violated the city’s rights to due process and

  equal protection under the Fifth Amendment and Fourteenth Amendment. See City of New

  Rochelle, 111 F. Supp. 2d at 364. Like the city in City of New Rochelle, School District Plaintiffs

  and School Board Plaintiffs are municipal entities challenging the constitutionality of state action

  under the Fourteenth Amendment. See City of New Rochelle, 111 F. Supp. 2d at 363–64

  (explaining that as “a municipal corporation organized under the laws of New York state, . . .

  [plaintiff] cannot maintain a claim” under the due process and equal protection clauses of the

  Fifth and Fourteenth Amendments). Plaintiffs contend that City of New Rochelle permits

  municipal entities to assert a constitutional challenge, but neither City of New Rochelle nor any

  of the other cases cited by Plaintiffs state that a municipal plaintiff may assert a claim against the

  State under the Fourteenth Amendment. See City of New Rochelle, 111 F. Supp. 2d at 364

  (“[W]hile municipalities or other state political subdivisions may challenge the constitutionality

  of state legislation on certain grounds and in certain circumstances [such as under the Supremacy

  Clause], these do not include challenges brought under the Due Process or Equal Protection

  Clauses of the Fourteenth Amendment.” (citations omitted)); see also Washington v. Seattle Sch.

  Dist. No. 1, 458 U.S. 457, 459 (1982) (addressing the limited issue of “whether an elected local

  school board may use the Fourteenth Amendment to defend its program of busing for integration

  from attack by the State” — not whether the school board had standing or capacity to sue the

  State); Town of Babylon, 707 F. Supp. 3d at 221, 227–30 (finding that the municipal plaintiffs

  lacked standing and capacity to sue New York State under the Fourteenth Amendment and

  finding it “unnecessary to conduct any further analysis of the question posed by the non-




                                                   24
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 25 of 89 PageID #:
                                              883



  controlling decision in City of New Rochelle” because “its analysis [was] inapplicable to the

  instant case”). Moreover, neither School Districts Plaintiffs nor School Board Plaintiffs are

  “persons” under the Fourteenth Amendment. See County of Chautauqua v. Shah, 6 N.Y.S.3d

  334, 337 (N.Y. App. Div. 2015) (“conclud[ing] that ‘[m]unicipalities cannot challenge state

  action on federal constitutional grounds because they are not “persons” within the meaning of the

  Due Process Clause’” (second alteration in original) (quoting City of E. St. Louis v. Circuit Ct.

  for Twentieth Jud. Circuit, St. Clair County, Ill., 986 F.2d 1142, 1144 (7th Circ. 1993))), aff’d

  sub nom. County of Chemung v. Shah, 28 N.Y.3d 244 (2016); Livnat v. Palestinian Auth., 851

  F.3d 45, 48 (D.C. Cir. 2017) (“Constitutional limits on the personal jurisdiction of the courts do

  not protect entities that are not covered by the Due Process Clause, and the language of the

  Clause speaks only of ‘persons.’” (citing U.S. Const. amend. V)); Vill. of Arlington Heights, 653

  F.2d at 1152 (“Municipal governmental entities have never been held to be ‘persons’ within the

  meaning of the [Fourteenth] amendment, which was intended to guard the liberty and property of

  natural persons and corporations.” (quoting People v. Valentine, 50 Ill. App. 3d 447, 452 (Ill.

  App. Ct. 1977)). Thus, School District Plaintiffs and School Board Plaintiffs lack capacity to sue

  under the Fourteenth Amendment and cannot bring a Fourteenth Amendment-based as-applied or

  facial vagueness claim.

                            2.   First Amendment capacity to sue

         The Court finds that School District Plaintiffs and School Board Plaintiffs also lack

  capacity to sue for violations of the First Amendment because they have not alleged that, if

  obliged to comply with Part 123, they would violate the constitutional rights of school officials




                                                   25
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 26 of 89 PageID #:
                                              884



  and employees. Although the First Amendment contains a constitutional proscription,13 the only

  First Amendment-based claim of School District Plaintiffs and School Board Plaintiffs

  challenges Part 123 for being impermissibly broad — not for requiring them to violate a

  constitutional proscription.14 (Am. Compl. ¶¶ 134–49 (alleging that Part 123 “creates an

  unnecessary risk of chilling the speech and expression of school employees, and the school

  community at large, in violation of the First Amendment” overbreadth doctrine)); In re World

  Trade Ctr. I, 846 F.3d at 63–64 (“[W]here the public corporation asserts that, if it is obliged to

  comply with the statute, that very compliance will force the corporation to violate a

  constitutional proscription” (citing City of New York, 86 N.Y.2d at 292)); Town of Babylon, 707

  F. Supp. 3d at 222 (noting that the fourth exception to New York’s capacity-to-sue rule requires

  that a public corporation assert that “compliance will force the corporation to violate a

  constitutional proscription” (quoting In re World Trade Ctr. I, 846 F.3d at 63)); Blakeman, 2024

  WL 3201671, at *12 (explaining that “the capacity-to-sue rule has been applied to bar . . . public

  entities from challenging a wide variety of state actions” including, inter alia, “special




         13
            See U.S. Const. amend. I (“Congress shall make no law . . . abridging the Freedom of
  Speech”); Merola v. Cuomo, 427 F. Supp. 3d 286, 292 (N.D.N.Y. 2019) (explaining that there
  was “[n]o proscription evident” in the Supremacy Clause “unlike, for example, the First
  Amendment[]”).
         14
             Defendants argue that the constitutional proscription exception to the capacity-to-sue
  rule is inapplicable because “the [S]chool [D]istrict Plaintiffs and [S]chool [B]oard Plaintiffs do
  not allege that [sections] 123.1 through 123.4 offend the First Amendment,” rather, the First
  Amendment “claim is asserted only by the [I]ndividual [Board Member] Plaintiffs, in their
  personal capacity.” (Defs.’ Reply 10–11.) However, the Court notes that Plaintiffs do not
  specify which section numbers of Part 123 they are challenging on overbreadth grounds. (See
  generally Am. Compl. ¶¶ 134–49.)



                                                   26
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 27 of 89 PageID #:
                                              885



  exemptions from local real estate tax assessments” and “laws mandating that counties make

  certain expenditures” (quoting In re World Trade Ctr. III., 30 N.Y.3d at 387)).15

         School District Plaintiffs and School Board Plaintiffs rely on Herzog v. Board of

  Education of Lawrence Union Free School District and New York State Coalition of Public

  Employers v. New York State Department of Labor to argue that they have capacity to sue for

  constitutional violations of state statutes under the constitutional proscription exception. (Pls.’



         15
             The Court notes that, although School District Plaintiffs and School Board Plaintiffs
  contend they can challenge the constitutionality of Part 123 under the First Amendment-based
  overbreadth doctrine, (Pls.’ Opp’n 23–27), several courts have expressed doubt that the First
  Amendment provides protections to government entities. See McCutcheon v. Fed. Election
  Comm’n, 572 U.S. 185, 206 (2014) (“The whole point of the First Amendment is to afford
  individuals protection against [laws that restrict free speech]. The First Amendment does not
  protect the government . . . ’” (citations omitted)); Columbia Broad. Sys., Inc. v. Democratic
  Nat’l Comm., 412 U.S. 94, 139 (1973) (Stewart, J., concurring) (“The First Amendment protects
  the press from governmental interference; it confers no analogous protection on the
  government.”); see also Mosdos Chofetz Chaim, Inc. v. Vill. of Wesley Hills, 701 F. Supp. 2d 568,
  599–602 (S.D.N.Y. 2010) (noting that “some courts have expressed doubt that the First
  Amendment’s protections apply at all to government actors,” but finding that “government actors
  are afforded some measure of protection under . . . the First Amendment to petition when they
  lawfully do so”); All. for Open Soc’y Int’l, Inc. v. U.S. Agency for Int’l Dev., 430 F. Supp. 2d 222,
  264 n.34 (S.D.N.Y. 2006) (“[T]he Court notes that public libraries, as government entities, hold a
  somewhat different position vis-a-vis the First Amendment than do NGOs. Indeed, there is a
  significant question as to whether a government entity may invoke the protections of the First
  Amendment at all.” (citation omitted)), aff’d, 651 F.3d 218 (2d Cir. 2011), aff’d sub nom.
  Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 133 (2013); Libin v. Town of
  Greenwich, 625 F. Supp. 393, 396 (D. Conn. 1985) (“Although there is little law on the subject,
  it must be obvious that a state actor does not have a First Amendment right of free expression . .
  .” (citing Mark G. Yudoff, When Government Speaks: Politics, Law, and Government Expression
  in America 42–50 (1983))); Nat’l Foreign Trade Council v. Natsios, 181 F.3d 38, 61 (1st Cir.
  1999) (explaining that “the First Circuit has expressed doubt [that local governments have First
  Amendment rights], holding that a legal services office of a state university lacks such rights, and
  saying that ‘a state entity[] itself has no First Amendment rights’” (quoting Student Gov’t Ass’n v.
  Bd. of Trustees, 868 F.2d 473, 481 (1st Cir. 1989) (alteration in original))), aff’d sub nom. Crosby
  v. Nat’l Foreign Trade Council, 530 U.S. 363 (2000); Warner Cable Commc’ns, Inc. v. City of
  Niceville, 911 F.2d 634, 638 (11th Cir. 1990) (finding that a government “speaker is not itself
  protected by the [F]irst [A]mendment”); Muir v. Ala. Educ. Television Comm’n, 688 F.2d 1033,
  1038 (5th Cir. 1982) (noting that the plaintiffs’ argument that the First Amendment does not
  confer any rights on governments “may be essentially correct”).



                                                   27
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 28 of 89 PageID #:
                                               886



  Opp’n 22 (first citing Herzog v. Bd. of Educ. of Lawrence Union Free Sch. Dist., 652 N.Y.S.2d

  473 (1996); and then citing New York State Coal. of Pub. Emps. v. New York State Dep’t of Lab.,

  441 N.Y.S.2d 878 (N.Y. Sup. Ct. 1981), modified, 456 N.Y.S.2d 465 (N.Y. App. Div. 1982),

  aff’d, 60 N.Y.2d 789, (1983)). However, these cases are distinguishable as neither involved a

  First Amendment-based overbreadth challenge to a state statute. Herzog, 652 N.Y.S.2d at 477–

  78 (finding that, while the respondent school district had capacity to challenge the

  constitutionality of a retirement law on the grounds that it violated a constitutional proscription

  against making a gift, the retirement law was constitutional); New York State Coal. of Pub. Emps,

  441 N.Y.S.2d at 880 (finding that school districts had standing to challenge a statute because

  section 27-a of the Labor Law “specifically authorizes persons adversely affected to commence

  an [a]rticle 78 proceeding,” the school districts were “entities directly affected by the

  promulgation of the standards,” and because the challenge involved “neither the validity of the

  statute, nor a limitation on municipal powers”).16 Accordingly, School District Plaintiffs and

  School Board Plaintiffs lack capacity to sue for First Amendment violations and therefore cannot

  bring a First Amendment-based overbreadth claim.




         16
             School District Plaintiffs and School Board Plaintiffs argue that they have capacity to
  sue because all Plaintiffs “have plausibly alleged the enforcement of Part 123 would result in a
  violation of school officials and employees’ First Amendment rights.” (Pls.’ Opp’n 22.)
  However, as discussed infra, (see infra sections II.b.ii–iii), Individual Board Member Plaintiffs
  have failed to state a First Amendment-based overbreadth challenge to Part 123 or a First
  Amendment free speech challenge.



                                                   28
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 29 of 89 PageID #:
                                              887



                    ii. Individual Board Member Plaintiffs’ Fourteenth Amendment-based
                        vagueness claims and First Amendment-based overbreadth claims

         Defendants argue that the Court should grant their motion to dismiss Individual Board

  Member Plaintiffs’17 facial and as-applied vagueness and overbreadth challenges for failing to

  state a claim under the Fourteenth and First Amendments. (Defs.’ Mem. 25–29; Defs.’ Reply

  18–22; Defs.’ Suppl. Reply 4–5.) The Court addresses each of these arguments below.18

                            1. Individual Board Member Plaintiffs’ Fourteenth Amendment-
                               based as-applied vagueness challenge

         Defendants argue that Individual Board Member Plaintiffs fail to state a plausible as-

  applied vagueness challenge. (Defs.’ Mem. 26–27; Defs.’ Reply 19.) As a threshold matter,

  Defendants argue that the vagueness doctrine is ordinarily applied to criminal legislation and a

  “less exacting vagueness scrutiny” is merited in civil cases. (Defs.’ Mem. at 26 (quoting Arriga

  v Mukasey, 521 F.3d 219, 223 (2d Cir. 2008)).) Defendants contend that Part 123 “is subject to

  an even less exacting standard” because the “parties ‘have the ability to clarify the meaning of

  the regulation by [their] own inquiry’” through the “FAQ Guidance” and accompanying email


         17
              Because the Court finds that Individual Board Member Plaintiffs lack capacity to sue
  in their official capacity, (see supra n.8), the Court only addresses the merits of Individual Board
  Member Plaintiffs’ First and Fourteenth Amendment claims in their personal capacity.
         18
              Before addressing Individual Board Member Plaintiffs’ facial vagueness challenge, the
  Court first addresses Individual Board Member Plaintiffs’ as-applied vagueness challenge. See
  Farrell v. Burke, 449 F.3d 470, 485 (2d Cir. 2006) (explaining that “[b]ecause the permissibility
  of a facial challenge sometimes depends upon whether the challenged regulation was
  constitutional as applied to the plaintiff, ‘[a] court should . . . examine the complainant’s conduct
  before analyzing other hypothetical applications of the law.’” (quoting Vill. of Hoffman Estates v.
  Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 (1982))); Hoffman Estates, 455 U.S. at 497
  (explaining that “the [plaintiff] must demonstrate that the law is impermissibly vague in all of its
  applications” to succeed on a facial vagueness); Copeland v. Vance, 893 F.3d 101, 110 (2d Cir.
  2018) (explaining that, to succeed on a facial challenge, “the challenger must establish that no set
  of circumstances exists under which the [a]ct would be valid.’” (quoting United States v. Salerno,
  481 U.S. 739, 745 (1987))). The Court addresses Individual Board Member Plaintiffs’
  Fourteenth Amendment-based vagueness challenges before their First Amendment-based
  overbreadth challenge.

                                                   29
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 30 of 89 PageID #:
                                               888



  address. (Id. at 27–28 (citing Vill. of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455

  U.S. 489, 498 (1982)); FAQ Guidance 5–11.) In addition, Defendants contend that, even under a

  stricter vagueness standard, Part 123 adequately notifies a person of reasonable intelligence that

  any symbol depicting “actual or stereotypical aspects of Indigenous cultures” is prohibited.

  (Defs.’ Mem. 27.) Defendants also argue that “no regulation is obligated, under any standard, to

  provide certainty to persons or entities to whom the regulation is aimed.” (Defs.’ Reply 19

  (quoting Williams v. Korines, 966 F.3d 133, 140 (2d Cir. 2020)).) In support of their challenge to

  Individual Board Member Plaintiffs’ as-applied claims, Defendants first argue that Part 123

  “contain[s] adequate definitions” to “notify a person of reasonable intelligence” as to what

  constitutes a prohibited use of an Indigenous name, symbol, or image, even under a stricter

  vagueness standard. (Defs.’ Mem. 26–27 (citing VIP of Berlin, 593 F.3d at 186); Defs.’ Reply

  19–20.) Second, Defendants argue that Part 123 is not enforced arbitrarily because Part 123’s

  provision permitting schools “to continue use of an Indigenous name or image where the district

  already, at the time of the promulgation of Part 123, had an agreement with a tribe” merely

  “declines to interfere with . . . agreements” between a tribe and school district that existed prior

  to the promulgation of Part 123. (Defs.’ Reply 20–21.) As to each team name, Defendants argue

  that Individual Board Member Plaintiffs fail to demonstrate an as-applied challenge because,

  Plaintiffs in the Massapequa Matter are “well aware that the Chiefs name and imagery are

  unambiguously prohibited by Part 123.” (Id. at 21.) Defendants argue Plaintiffs in the

  Wantagh/Wyandanch and Connetquot Matters merely disagree with the prohibition against

  continued use of names such as “Thunderbirds” and “Warriors.” (Id.)

         Individual Board Member Plaintiffs argue that Part 123’s definitions and exceptions

  provisions are unconstitutionally vague as-applied to Plaintiffs. (Am. Compl. ¶¶ 141–44.) In




                                                   30
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 31 of 89 PageID #:
                                              889



  support, Plaintiffs argue that Part 123 fails to provide adequate notice because the regulation

  “does not adequately define what constitutes an Indigenous ‘name,’ ‘symbol,’ or ‘image’” and

  does not distinguish between different depictions of Indigenous culture. (Id. ¶ 141–42; Pls.’

  Opp’n 27–33.) Plaintiffs also argue that Part 123 fails to account for uses of Indigenous imagery

  that are in honor of Indigenous persons, as opposed to those that are derogatory. (Am. Compl. ¶

  142; Pls.’ Opp’n 27–33.) Further, Plaintiffs contend that Part 123 leads to arbitrary enforcement

  because it “would allow one school district to maintain a particular team name, logo, or mascot,

  while prohibiting another school district from doing the same simply because it could not secure

  written approval from a federally or state-recognized Indian tribe.” (Am. Compl. ¶ 144; Pls.’

  Opp’n 27–33.)

         Plaintiffs in the Massapequa Matter argue that “the Massapequa Chiefs name and logo

  present a prime example of how Part 123’s lack of narrow tailoring to Defendants’ purported

  goal results in an unconstitutionally overbroad regulation that if enforced will burden a

  substantial amount of protected First Amendment activity.” (Pls.’ Opp’n 33.) Plaintiffs argue

  that “Defendants’ ability to enforce Part 123 against the Massapequa Plaintiffs (or any school

  district for that matter) depends on its ability to prove the use of the Chiefs name and logo

  somehow constitutes an abuse of discretion by creating an unsafe learning environment for

  Massapequa students,” but argue that their name and logo has “never prompted a single DASA

  complaint.” (Id.) Plaintiffs also note the Massapequa community’s “strong ties to Native

  American culture.” (Id.)

         Plaintiffs in the Wantagh/Wyandanch Matter argue that “Part 123’s application to the

  Warriors name also reveals the regulations’ inherent vagueness and overbreadth” because the

  prohibition against the Warriors name is only covered by the FAQ Guidance’s clarification about




                                                   31
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 32 of 89 PageID #:
                                              890



  historical uses of Native imagery — not Part 123 itself — and applies even though Wantagh and

  Wyandanch only recently “committed to retiring any Native American imagery” associated with

  their schools. (Id. at 32–33.) In support, Plaintiffs argue that “[e]ven the Chairman of the

  Shinnecock Nation . . . publicly commented that the name ‘Warrior’ is not exclusive to native

  culture and that he would be in favor of school districts keeping their Warriors team name.” (Id.

  at 33.) Plaintiffs also argue the fact that the Wantagh/Wyandanch Plaintiffs would be prohibited

  from using the Warriors name, while SED allows other school districts to maintain their Warriors

  name and logo, illustrates the regulation’s arbitrary and discriminatory enforcement. (Id. at 30.)

         Plaintiffs in the Connetquot Matter argue that “it is wholly unclear how the Connetquot

  CSD’s Thunderbird name, mascot, and/or logo could possibly violate DASA,” because “[w]hile

  thunderbirds are part of Native American folklore, the belief in bird-like and other mythological

  creatures, including thunderbirds specifically, traces to various other cultures and is not unique to

  the Americas” and because the mascot “is more akin to an eagle or other real-life bird, than a

  mythological literary creature.” (Id. at 31.) Plaintiffs contend that the U.S. Air Force selected

  the name “Thunderbirds” for its Air Demonstration Squadron in honor of the “power, protection,

  and strength” that the mythological creature represents, and that the Connetquot student body’s

  “selection of the name Thunderbird cannot constitute a DASA violation.” (Id. at 32.) Plaintiffs

  also contend that the “‘T-Bird’ nickname . . . bears no connection to a Native American name,

  symbol, or image” and is more commonly associated with “a classic Ford vehicle or John

  Travolta’s character . . . from the movie classic Grease.” (Id. at 31.)

         “A statute can be impermissibly vague for either of two independent reasons. First, if it

  fails to provide people of ordinary intelligence a reasonable opportunity to understand what

  conduct it prohibits. Second, if it authorizes or even encourages arbitrary and discriminatory




                                                   32
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25       Page 33 of 89 PageID #:
                                               891



  enforcement.” Hill v. Colorado, 530 U.S. 703, 732 (2000) (citing Chicago v. Morales, 527 U.S.

  41, 56–57 (1999)); see Brokamp v. James, 66 F.4th 374, 403 (2d Cir. 2023) (“A statute is

  unconstitutionally vague in violation of the Due Process clause if it (1) ‘fails to provide a person

  of ordinary intelligence fair notice of what is prohibited,’ or (2) ‘is so standardless that it

  authorizes or encourages seriously discriminatory enforcement.’” (quoting Holder v.

  Humanitarian L. Project, 561 U.S. 1, 18 (2010))); Kissel v. Seagull, 552 F. Supp. 3d 277, 285–

  86 (D. Conn. 2021) (quoting Hill, 530 U.S. at 732) (same); Muchmore’s Cafe, LLC v. City of

  New York, No. 14-CV-5668, 2016 WL 11469539, at *17 (E.D.N.Y. Sept. 29, 2016) (quoting

  Farrell v. Burke, 449 F.3d 470, 485 (2d Cir. 2006)) (same); see also Farrell, 449 F.3d at 485

  (“[A]ll vagueness challenges — whether facial or as-applied — require us to answer two

  separate questions: whether the statute gives adequate notice, and whether it creates a threat of

  arbitrary enforcement.”). “In reviewing a statute’s language for vagueness, ‘we are relegated . . .

  to the words of the ordinance itself, to the interpretations the court below has given to analogous

  statutes, and perhaps to some degree, to the interpretation of the statute given by those charged

  with enforcing it.’” VIP of Berlin, 593 F.3d at 186 (quoting Grayned v. City of Rockford, 408

  U.S. 104, 110 (1972)); see also Keepers, Inc. v. City of Milford, 944 F. Supp. 2d 129, 150–51 (D.

  Conn. 2013) (same), vacated in part and remanded on other grounds, 807 F.3d 24 (2d Cir.

  2015).

           “When a statute ‘is capable of reaching expression sheltered by the First Amendment, the

  [vagueness] doctrine demands a greater degree of specificity than in other contexts.’” VIP of

  Berlin, 593 F.3d at 186 (quoting Farrell, 449 F.3d at 485) (alteration in original). However,

  “[c]ondemned to the use of words, we can never expect mathematical certainty from our

  language.” Id. at 187 (quoting Grayned, 408 U.S. at 110); see also Cunney v. Bd. of Trs. of




                                                    33
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25     Page 34 of 89 PageID #:
                                               892



  Grand View, 660 F.3d 612, 621 (2d Cir. 2011) (quoting Grayned, 408 U.S. at 110) (same);

  Farrell, 449 F.3d at 485 (“Where a statute’s literal scope, unaided by a narrowing state court

  interpretation, is capable of reaching expression sheltered by the First Amendment, the doctrine

  demands a greater degree of specificity than in other contexts.”) (quoting Smith v. Goguen, 415

  U.S. 566, 573 (1974))). “Rather, regulations may embody ‘flexibility and reasonable depth,’ . . .

  and ‘satisfy due process as long as a reasonably prudent person, familiar with the conditions the

  regulations are meant to address and the objectives the regulations are meant to achieve, has fair

  warning of what the regulations require.’” Cunney, 660 F.3d at 621 (first quoting Grayned, 408

  U.S. at 110; and then quoting Rock of Ages Corp. v. Sec’y of Labor, 170 F.3d 148, 156 (2d Cir.

  1999)).

                                     A. Level of scrutiny

            As a threshold matter, Plaintiffs and Defendants dispute which level of scrutiny the Court

  should apply to determine whether Part 123 is unconstitutionally vague as-applied or facially.

  (Defs.’ Mem. 26 n.10; Pls.’ Opp’n 27–28.) Defendants argue that a more stringent vagueness

  standard is inapplicable because School District Plaintiffs and School Board “Plaintiffs do not

  allege that First Amendment rights are implicated by the provisions Plaintiffs challenge on

  vagueness grounds,” and because “[t]he First Amendment claim, [which] . . . is only asserted by

  the [Individual] [B]oard [M]ember Plaintiffs in their personal capacity . . . challenges only

  [section] 123.5.” (Defs.’ Reply 18.) Plaintiffs argue that “because Part 123 implicates First

  Amendment rights, the [vagueness] doctrine demands a greater degree of specificity.” (Pls.’

  Opp’n 28 (alteration in original).) Because Individual Board Member Plaintiffs have alleged that

  Part 123’s implementation provision raises First Amendment concerns, (Am. Compl. ¶¶ 157–

  71), the Court finds that the appropriate test is whether Part 123 “reaches a substantial amount of




                                                    34
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 35 of 89 PageID #:
                                               893



  constitutionally protected conduct.” Dorman v. Satti, 862 F.2d 432, 436 (2d Cir. 1988) (quoting

  Hoffman Estates, 455 U.S. at 494); see also Farrell, 449 F.3d at 496 (“Facial vagueness

  challenges may go forward only if the challenged regulation ‘reaches a substantial amount of

  constitutionally protected conduct.’” (quoting Kolender v. Lawson, 461 U.S. 352, 358 n.8

  (1983))).

                                     B. Adequate notice

         Defendants argue that Part 123 “contain[s] adequate definitions” to “notify a person of

  reasonable intelligence” as to what constitutes a prohibited use of an Indigenous name, symbol,

  or image. (Defs.’ Mem. 26–27.)

         Plaintiffs argue that Part 123 fails to provide adequate notice because the regulation

  “does not adequately define what constitutes an Indigenous ‘name,’ ‘symbol,’ or ‘image’” and

  “fail[s] to . . . differen[tiate] between a stereotypical aspect of Indigenous culture, as opposed to a

  representation that is accurate and respectful.” (Am. Compl. ¶¶ 141–42; Pls.’ Opp’n 27–33.)

         A statute provides adequate notice when its “language conveys sufficiently definite

  warning as to the proscribed conduct when measured by common understanding and practices.”

  Cunney, 660 F.3d at 621 (quoting Rubin v. Garvin, 544 F.3d 461, 467 (2d Cir. 2008) (internal

  quotation marks omitted)); VIP of Berlin, 593 F.3d at 187 (“Animating this first vagueness

  ground is the constitutional principle that individuals should receive fair notice or warning when

  the state has prohibited specific behavior or acts.” (quoting Thibodeau v. Portuondo, 486 F.3d

  61, 65 (2d Cir. 2007))). A statute will “satisfy due process as long as a reasonably prudent

  person, familiar with the conditions the regulations are meant to address and the objectives the

  regulations are meant to achieve, has fair warning of what the regulations require.” Cunney, 660

  F.3d at 621 (quoting Rock of Ages, 170 F.3d at 156); see Grayned, 408 U.S. at 110 (explaining




                                                    35
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 36 of 89 PageID #:
                                               894



  that an ordinance “marked by ‘flexibility and reasonable breadth’” is constitutional so long as “it

  is clear what the ordinance as a whole prohibits”).

         In reviewing the regulation’s definitions, Part 123 does not specifically define “name,

  symbol, or image.” 8 NYCRR § 123.1. However, the regulation defines “Indigenous name,

  logo, or mascot” as “a name, symbol or image that depicts or refers to Indigenous persons, tribes,

  nations, individuals, customs symbols, or traditions . . . used to represent a public school.” 8

  NYCRR § 123.1. An “Indigenous name, logo, or mascot” includes both “actual or stereotypical

  aspects of Indigenous cultures, used to represent a public school.” Id.

         Neither Plaintiffs nor Defendants cite to decisions from any court interpreting the

  definition of “Indigenous name, logo, or mascot,” or defining an Indigenous “name, symbol or

  image,” nor is the Court aware of any. However, the Second Circuit has upheld laws with less

  precise definitions in the First Amendment context. See VIP of Berlin, 593 F.3d at 182–83, 187;

  Farrell, 449 F.3d at 490–93 (finding that, while the term “pornography” may be “inherently

  vague,” the publication the defendant possessed “fit[] within any reasonable understanding of the

  term” and “that the no-pornography condition [of defendant’s parole] was not vague” in relation

  to a special condition prohibiting an individual from possessing “pornographic materials”). For

  example, in VIP of Berlin, the “sexually oriented business” ordinance provided that “adult-

  oriented stores” were subject to a zoning ordinance and defined “adult-oriented store” as any

  store having “a ‘substantial or significant portion’ of its stock in trade in adult merchandise.”

  VIP of Berlin, 593 F.3d at 182–83, 187. The Second Circuit concluded that the “plain meaning

  and stated purpose” of the ordinance provided adequate notice to the plaintiff, whose proposed

  stock consisted of approximately twelve percent of adult items, that the business qualified as an

  adult-oriented store because it had a “substantial or significant portion of its stock” in adult




                                                    36
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 37 of 89 PageID #:
                                               895



  merchandise. Id. at 187, 189, 190–91 (explaining that a “substantial or significant portion of its

  stock” only required “‘part’ of [a business’s] stock in trade [to be] devoted to adult merchandise”

  and that the merchandise “is of ‘considerable quantity’ and ‘of a noticeably or measurably large

  amount’” (citations omitted)). Like VIP of Berlin’s definition of “adult-oriented stores,” a

  reasonable person would have notice that the definition of an Indigenous name, logo, or mascot

  includes any Indigenous name, symbol, and imagery that “depicts or refers to Indigenous

  persons,” regardless of the intention behind such a reference. Id. at 182–83, 187; 8 NYCRR §

  123.1.

           Accordingly, Plaintiffs have not plausibly alleged that they had insufficient notice that

  these names, symbols, and images were covered by Part 123. In the Massapequa Matter,

  Plaintiffs acknowledge the Massapequa Chiefs name and logo reference and “depict[] Sachem

  Tackapausha himself.” (Am. Compl. ¶ 47.) Similarly, in the Wantagh/Wyandanch Matter,

  Plaintiffs were equally on notice of the pre-existing history tying the Warriors’ name to actual or

  stereotypical aspects of Indigenous peoples. (Pls.’ Opp’n 32–33; 23-CV-7299 Am. Compl.

  ¶¶ 54, 63 (explaining that “the name Warrior is not exclusive to native culture,” but noting that

  “[t]he ‘Wantagh Warriors’ name and logo, . . . depicts the profile of a Native American in full

  headdress”).) In the Connetquot Matter, the “Thunderbirds” name is covered by Part 123

  because, as Plaintiffs acknowledge, “thunderbirds are part of Native American folklore.” (Pls.’

  Opp’n 31; 23-CV-7696 Am. Compl. ¶¶ 70–81 (explaining that the student body chose the name

  “Thunderbirds” in order “to select a name that honored the Indian culture of the area”).) Part

  123’s prohibition on any references to “Indigenous persons, tribes, nations, individuals, customs,

  symbols, or traditions, including actual or stereotypical aspects of Indigenous cultures” covers




                                                    37
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 38 of 89 PageID #:
                                              896



  the names, symbols, and images that Plaintiffs acknowledge have ties to Indigenous persons. 8

  NYCRR § 123.1.

                                    C. Arbitrary and discriminatory enforcement

         Defendants argue that the FAQ Guidance “demonstrates the absence of opportunities for

  arbitrary enforcement” and “clearly answers” Plaintiffs’ core question of whether public schools

  must retire names such as “Warriors” and “Thunderbirds.” (Defs.’ Mem. 28.)

         Plaintiffs argue that Part 123 leads to arbitrary enforcement because it “would allow one

  school district to maintain a particular team name, logo, or mascot, while prohibiting another

  school district from doing the same simply because it could not secure written approval from a

  federally or state-recognized Indian tribe.” (Am. Compl. ¶ 144; Pls.’ Opp’n 27–33.) In support,

  Plaintiffs argue that the fact that the Wantagh/Wyandanch Plaintiffs would be prohibited from

  using the Warriors name, while Part 123 “allow[s] other schools, like Chenango Valley Central

  School District to[] continue to use the Warriors name,” (Pls.’ Opp’n 32), and “allow[s] the

  Salamanca City Central School District to maintain its Warriors name and logo depicting a

  Native American male” illustrates the regulation’s arbitrariness, (id. at 30). Plaintiffs argue that

  “Part 123’s inherent vagueness is exacerbated by the fact that Part 123 is a self-policing

  regulation” and that the FAQ Guidance creates “blatant inconsistenc[ies]” that in turn create

  “incurable void-for-vagueness concerns.” (Id. at 28–29.) Plaintiffs contend that, “[d]espite

  being a self-policing regulation,” Part 123 contains no “standards or criteria for school districts

  to determine the meaning, scope and application of the regulation and its prohibition[s].” (Id. at

  28.) Plaintiffs also contend that the FAQ Guidance’s prohibition on “any name, logo, or mascot

  that bore any connection to Native American culture at any point in time” is an “impermissible




                                                   38
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 39 of 89 PageID #:
                                               897



  expansion of the definition of ‘Indigenous name, logo, or mascot’ as set forth in Part 123” and is

  inconsistent with the regulation itself. (Id. at 29.)

          A statute provides explicit standards when “either: (1) the ‘statute as a general matter

  provides sufficiently clear standards to eliminate the risk of arbitrary enforcement;’ or (2) ‘even

  in the absence of such standards, the conduct at issue falls within the core of the statute’s

  prohibition, so that the enforcement before the court was not the result of the unfettered latitude

  that law enforcement officers and factfinders might have in other, hypothetical applications of

  the statute.’” VIP of Berlin, 593 F.3d at 191 (quoting Farrell, 449 F.3d at 494); Cunney, 660

  F.3d at 622 (explaining that determining whether an ordinance provides explicit standards

  involved a two-part inquiry into whether (1) the ordinance provides sufficiently clear

  enforcement standards, and (2) the conduct falls within the core of the of the ordinance’s

  prohibition (quoting Farrell, 449 F.3d at 494)). A statute authorizes or encourages

  discriminatory enforcement when it fails to “provide explicit standards for those who apply” the

  statute. Cunney, 660 F.3d at 621 (citing Grayned, 408 U.S. at 108–09); Thibodeau, 486 F.3d at

  66 (explaining that the vagueness “doctrine does not require ‘meticulous specificity’ from every

  statute” because “language is necessarily marked by a degree of imprecision” (first quoting

  Grayned, 408 U.S. at 110, and then quoting Farrell, 449 F.3d at 485)).

          Part 123 provides the following exceptions for schools and their employees:

                  (a) Tribal Use. Nothing in this section shall be construed to prohibit
                  a federally recognized tribal nation within the State of New York or
                  a New York State recognized tribal nation from choosing to use an
                  Indigenous name, logo, or mascot for a sports team comprised of its
                  tribal members, including an Indigenous name, logo, or mascot for
                  a sports team comprised of its tribal members, including a tribal
                  school or intramural league.

                  (b) Tribal Approval. This Part shall not apply where a written
                  agreement exists prior to the effective date of this part between a



                                                    39
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25       Page 40 of 89 PageID #:
                                              898



                 federally recognized tribal nation within the State of New York or a
                 New York State recognized tribal nation and a public school
                 permitting the use of an Indigenous name, mascot, or logo that is
                 culturally affiliated with such tribe. A public school shall not offer
                 or accept any money, consideration, or thing of value pursuant to
                 any such agreement. The tribal nation shall have the right and ability
                 to revoke any such agreement at any time. Upon termination of such
                 an agreement, the public school shall have the remainder of the
                 school year in which such agreement is revoked and one additional
                 school year to discontinue its use of an Indigenous name, logo, or
                 mascot.

  8 NYCRR § 123.4.

         The Court finds that these challenged provisions are not arbitrary or discriminatory as-

  applied to Individual Board Member Plaintiffs because the definitions provide sufficiently clear

  standards to determine whether a specific schools name, logo, or mascot is prohibited by Part

  123. The court in VIP of Berlin similarly found that enforcement of the adult-oriented business

  provision was not arbitrary or discriminatory “[f]or the same reasons that it gave [the business]

  adequate notice,” namely that “[t]he plain meaning of the ordinance . . . is not vague” and

  therefore “does not encourage or authorize arbitrary enforcement.” VIP of Berlin, 593 F.3d at

  191–93 (explaining that “twelve percent of its stock in trade . . . falls ‘within any reasonable

  understanding of the [ordinance’s language]’” that applied zoning restrictions to businesses that

  had a substantial portion of adult merchandise as its stock in trade (quoting Farrell, 449 F.3d at

  490)); see also Farrell, 449 F.3d at 476, 483 (finding that a special condition prohibiting an

  individual from possessing “pornographic materials” had “provided adequate standards for the

  parole officers to determine whether” a parolee could possess a certain publication); Dickerson v.

  Napolitano, 604 F.3d 732, 746–49 (2d Cir. 2010) (finding that the defendants’ misuse of fake

  police badges struck at the “core concern” of New York City statute criminalizing possession

  without authority of “insignia or emblem in any way resembling that worn by members of the




                                                   40
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 41 of 89 PageID #:
                                              899



  police force,” and therefore enforcement of the statute was not arbitrary and capricious “despite

  the unfortunate breadth of the statute” and challenges in interpreting the literal meaning of the

  statute). Like the “substantial or significant” language in VIP of Berlin, Part 123’s definition of

  prohibited Indigenous cultural reference provides clear standards through which schools can

  determine whether their names, logos, and mascots are prohibited Indigenous cultural references.

  Moreover, neither the “Tribal Use” nor the “Tribal Approval” exceptions lead to arbitrary or

  discriminatory enforcement. See United States v. Farhane, 634 F.3d 127, 142 (2d Cir. 2011)

  (finding that “the statutory exemption of ‘medicine’ from the definition of ‘material support’”

  that can be provided to a terrorist did not render the statute unconstitutionally vague); Rubin, 544

  F.3d at 465, 470 (providing that Medicaid charging regulations that had “unwritten exceptions”

  in practice for “ongoing contracts or for discounted rates for prompt billing” was not void-for-

  vagueness as applied to the petitioner because “exceptions do not render the regulation vague as

  applied”); see also J & J Sports Prods., Inc. v. Patin, 358 F. Supp. 3d 318, 323 (S.D.N.Y. 2019)

  (finding that a statute defining “cable system” which included “stated exceptions” was “neither

  so vague that people of ordinary intelligence would not understand them, nor encourage arbitrary

  and discriminatory enforcement”); Maages Auditorium v. Prince George’s Cnty., Maryland, 681

  F. App’x 256, 263–64 (4th Cir. 2017) (finding that a zoning code’s “special exception” provision,

  which allowed adult entertainment businesses to remain in non-conforming locations, was not

  unconstitutionally vague because “the terms challenged here all have readily ascertainable

  meanings based on context and dictionary definitions, which sufficiently guide zoning officials

  in the exercise of their authority”). Further, although Individual Board Member Plaintiffs argue

  that Part 123’s FAQ Guidance “raises incurable void-for-vagueness concerns” by expanding the

  definitions of what the regulation prohibits, (Pls.’ Opp’n 29), the additional guidance actually




                                                   41
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25     Page 42 of 89 PageID #:
                                               900



  remedies their void-for-vagueness concerns because the FAQ Guidance answers questions

  regarding how to determine whether a school’s team name, logo, or mascot has been associated

  with Indigenous peoples and where to submit further inquiries. See Hoffman Estates, 455 U.S. at

  498 (recognizing that economic regulation may be subject to a lower standard where parties

  “have the ability to clarify the meaning of the regulation by [their] own inquiry, or by resort to an

  administrative process”); (FAQ Guidance 5–11). Accordingly, the Court finds that Part 123 is

  constitutional as-applied to Individual Board Member Plaintiffs. The Court therefore grants

  Defendants’ motion and dismisses Individual Board Member Plaintiffs’ as-applied vagueness

  claims.

                             2. Individual Board Member Plaintiffs’ Fourteenth Amendment-
                                based facial vagueness challenge

            Because Individual Board Member Plaintiffs have failed to state a plausible as-applied

  vagueness claim to Part 123, (see supra section II.b.ii.1), the Court grants Defendants’ motion to

  dismiss their facial vagueness claim.

            “When considering a facial challenge to the . . . vagueness of a statute as measured

  against the [F]irst [A]mendment, ‘a court’s first task is to determine whether the enactment

  reaches a substantial amount of constitutionally protected conduct.’” Dorman, 862 F.2d at 436

  (quoting Hoffman Estates, 455 U.S. at 494); see also Farrell, 449 F.3d at 496 (“Facial vagueness

  challenges may go forward only if the challenged regulation ‘reaches a substantial amount of

  constitutionally protected conduct.’”) (quoting Kolender, 461 U.S. at 358 n.8 (1983)); Helms

  Realty Corp. v. City of New York, 320 F. Supp. 3d 526, 533 (S.D.N.Y. 2018) (finding that

  “[w]hether [the plaintiff] can mount a facial challenge to [the challenged law] depends . . . on

  whether it reaches constitutionally protected speech, which in turn requires a [c]ourt to examine

  the (ambiguous and unambiguous) scope of the statute”).



                                                   42
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 43 of 89 PageID #:
                                              901



         To decide whether a statute reaches a substantial amount of constitutionally protected

  conduct, the Court “must first determine whether the [ordinance at issue] will have a substantial

  chilling effect on protected conduct.” Farrell, 449 F.3d at 497 (citing United States v. Loy, 237

  F.3d 251, 259 (3d Cir. 2001)). “In determining whether a regulation reaches substantial

  protected conduct, [a court] must consider everything that falls within the ambiguous scope of

  the” challenged regulation. Id. (citing Hoffman Estates, 455 U.S. at 494 n.6); see also Helms

  Realty Corp., 320 F. Supp. 3d at 533 (same (quoting Farrell, 449 F.3d at 497)). “Because the

  permissibility of a facial challenge sometimes depends upon whether the challenged regulation

  was constitutional as applied to the plaintiff, ‘[a] court should . . . examine the complainant’s

  conduct before analyzing other hypothetical applications of the law.’” Farrell, 449 F.3d at 485

  (quoting Hoffman Estates, 455 U.S. at 495). This is because, to succeed on a facial vagueness

  challenge, “the [plaintiff] must demonstrate that the law is impermissibly vague in all of its

  applications.” See Hoffman Estates, 455 U.S. at 497; see also United States v. Salerno, 481 U.S.

  739, 745 (1987) (“A facial challenge to a legislative Act is, of course, the most difficult

  challenge to mount successfully, since the challenger must establish that no set of circumstances

  exists under which the Act would be valid.”); Copeland v. Vance, 893 F.3d 101, 110 (2d Cir.

  2018) (“A facial challenge is ‘the most difficult challenge to mount successfully’ because, as a

  general matter ‘the challenger must establish that no set of circumstances exists under which the

  Act would be valid.’” (quoting Salerno, 481 U.S. at 745)).

         Individual Board Member Plaintiffs have failed to state a facial vagueness claim. As

  discussed supra, (see supra section II.b.ii.1), Part 123 is constitutional as-applied to Individual

  Board Member Plaintiffs. Thus, Individual Board Member Plaintiffs have not “establish[ed] that

  no set of circumstances exists under which” the regulation would be valid. Copeland, 893 F.3d




                                                   43
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 44 of 89 PageID #:
                                               902



  at 110 (quoting Salerno, 481 U.S. at 745); see also Holder, 561 U.S. at 20 (“[A] plaintiff who

  engages in some conduct that is clearly proscribed cannot complain of the vagueness of the law

  as applied to the conduct of others.” (quoting Hoffman Estates, 455 U.S. at 495)); Diaz v.

  Paterson, 547 F.3d 88, 101 (2d Cir. 2008) (“Because plaintiffs have failed to plead facts

  establishing that Article 65 is unconstitutional as applied to them, they necessarily fail to state a

  facial challenge, which requires them to ‘establish that no set of circumstances exists under

  which the [statute] would be valid.’” (alteration in original) (quoting Cranley v. Nat’l Life Ins.

  Co. of Vt., 318 F.3d 105, 110 (2d Cir. 2003))).

         Accordingly, the Court finds that Individual Board Member Plaintiffs have not plausibly

  alleged that Part 123 is facially vague and grants Defendants’ motion to dismiss their facial

  vagueness claims.

                             3. Individual Board Member Plaintiffs’ First Amendment-based
                                facial overbreadth challenge to Part 123

         Defendants contend that Individual Board Member “Plaintiffs’ overbreadth claim fails on

  all fronts.” (Defs.’ Mem. 29.) In support, Defendants argue that the regulation’s prohibition on

  school district employees displaying Indigenous names or imagery while on school property or at

  school functions (1) is narrow, and (2) does not implicate the First Amendment. (Id.)

  Defendants emphasize that the FAQ Guidance “removes any doubt that Section 123.5 is limited

  to its narrow confines.” (Id.)

         Plaintiffs contend that Part 123 as a whole is facially overbroad “because a substantial

  number of its applications are unconstitutional, judged in relation to its purported legitimate

  sweep.” (Pls.’ Opp’n 25.) Plaintiffs argue that the regulation “lacks any tailoring to Defendants’

  purported goal, which is to prevent DASA violations,” and “creates a sweeping policy-based

  determination that strays far beyond the scope of the allegedly enabling statute of DASA.” (Id.



                                                    44
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 45 of 89 PageID #:
                                               903



  at 26.) In support, Plaintiffs emphasize that Part 123 “purports to end discrimination and

  harassment in school districts it has not even demonstrated existed in the first place.” (Id.)

  Plaintiffs argue that Part 123’s broad sweep “creates an unnecessary risk of chilling the speech

  and expression of school employees, and the school community at large, in violation of the First

  Amendment.” (Id.)

         “A law is unconstitutionally overbroad if it punishes a substantial amount of protected

  free speech, judged in relation to its plainly legitimate sweep.” Vt. Right to Life Comm., Inc. v.

  Sorrell, 758 F.3d 118, 127 n.8 (2d Cir. 2014) (quoting Farhane, 634 F.3d at 136); United States

  v. Thompson, 896 F.3d 155, 163 (2d Cir. 2018) (“[T]o be struck as overbroad, the statute must be

  overbroad ‘not only in an absolute sense, but also relative to the statute’s plainly legitimate

  sweep.’” (quoting United States v. Williams, 553 U.S. 285, 292 (2008))), cert. denied, 139 S. Ct.

  2715 (2019); Adams v. Zenas Zelotes, 606 F.3d 34, 38 (2d Cir. 2010); see also Members of City

  Council of L.A. v. Taxpayers for Vincent, 466 U.S. 789, 796 (1984) (“There are two quite

  different ways in which a statute or ordinance may be considered invalid ‘on its face’ — either

  because it is unconstitutional in every conceivable application, or because it seeks to prohibit

  such a broad range of protected conduct that it is unconstitutionally ‘overbroad.’”); Sorrell, 758

  F.3d at 127 (describing the two “different ways in which a statute may be considered invalid ‘on

  its face’” (quoting Taxpayers for Vincent, 466 U.S. at 796)); see also United States v. Smith, 945

  F.3d 729, 736 (2d Cir. 2019) (“Overbreadth challenges are a form of First Amendment challenge

  and an exception to the general rule against third-party standing . . . . Thus, ‘[a]ll overbreadth

  challenges are facial challenges’”) (citing Farrell, 449 F.3d at 498); Farrell, 449 F.3d at 498

  (“All overbreadth challenges are facial challenges, because an overbreadth challenge by its




                                                   45
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 46 of 89 PageID #:
                                              904



  nature assumes that the measure is constitutional as applied to the party before the court.”).19

  The Supreme Court has described an overbreadth challenge as “limited” and has noted that its

  force weakens as the regulated behavior at issue “moves from ‘pure speech’ toward conduct and

  that conduct — even if expressive — falls within the scope of otherwise valid criminal laws.”

  Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973); Farhane, 634 F.3d at 136–37 (noting that

  “invalidat[ing] all enforcement of a challenged law . . . is ‘strong medicine’” (quoting Williams,

  553 U.S. at 292)); see also Gospel Missions of Am. v. City of Los Angeles, 419 F.3d 1042, 1050

  (9th Cir. 2005) (“[T]he overbreadth doctrine’s concern with ‘chilling’ protected speech

  attenuates as the otherwise unprotected behavior that it forbids the State to sanction moves from

  ‘pure speech’ toward conduct.” (alteration in original) (quoting Virginia v. Hicks, 539 U.S. 113,

  124 (2003))); United States v. Richards, No. 13-CR-818, 2014 WL 3765712, at *3 (S.D.N.Y.

  July 29, 2014) (quoting Broadrick, 413 U.S. at 615).

         “[T]he first step in overbreadth analysis is to construe the challenged statute; it is

  impossible to determine whether a statute reaches too far without first knowing what the statute

  covers.” United States v. Stevens, 559 U.S. 460, 474 (2010) (quoting Williams, 553 U.S. at 293).



         19
              Plaintiffs contend — and Defendants do not disagree — that the overbreadth doctrine
  is an exception to the rule against third-party standing. (Defs.’ Mem. 29; Pls.’ Opp’n 24–25.)
  Because Defendants have not challenged Plaintiffs’ third-party standing, the Court considers the
  claims of hypothetical third parties in its evaluation of Individual Board Member Plaintiffs’
  overbreadth challenge. However, because School District Plaintiffs, School Board Plaintiffs, and
  Individual Board Member Plaintiffs suing in their official capacity lack capacity to assert a First
  Amendment violation, the Court does not address their overbreadth claims. See Fund
  Liquidation Holdings LLC v. Bank of Am. Corp., 991 F.3d 370, 382 (2d Cir. 2021) (“Capacity to
  sue addresses only whether a person or company that possesses an enforceable right may act as a
  litigant.” (citing Horowitz v. 148 S. Emerson Assocs. LLC, 888 F.3d 13, 19 n.4 (2d Cir. 2018)));
  Town of Babylon, 707 F. Supp. 3d at 221 (explaining that “[c]apacity, unlike standing, is
  ordinarily not a jurisdictional issue . . . a party must maintain its capacity to sue throughout
  litigation, and lack of capacity is grounds for dismissal.” (quoting Sonterra Cap. Master Fund,
  Ltd. v. Barclays Bank PLC, 403 F. Supp. 3d 257, 267 (S.D.N.Y. 2019) (internal quotation marks
  and citations omitted))).

                                                   46
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 47 of 89 PageID #:
                                              905



  The second step is to determine whether the statute, as construed by the court, “prohibits a

  substantial amount of protected speech.” Williams, 553 U.S. at 292; see also Adams, 606 F.3d at

  38 (noting that determining whether the statute as construed “reach[es] ‘a substantial amount of

  protected expressive activity’” is the “second step in an overbreadth analysis” (quoting Williams,

  553 U.S. at 297)). “[I]n considering facial challenges we must ‘vigorously enforce[] the

  requirement that a statute’s overbreadth be substantial, not only in an absolute sense, but also

  relative to the statute’s plainly legitimate sweep.’” Adams, 606 F.3d at 38 (quoting Williams,

  553 U.S. at 292).

         “The First Amendment affords protection to symbolic or expressive conduct as well as to

  actual speech.” Virginia v. Black, 538 U.S. 343, 358 (2003) (citing R.A.V. v. City of St. Paul,

  505 U.S. 377, 382 (1992)); see Radwan v. Manuel, 55 F.4th 101, 115 (2d Cir. 2022) (“The

  protections of the First Amendment are not limited to spoken words, but rather include gestures

  and other expressive conduct, even if vulgar or offensive to some.”). “To determine whether

  conduct is expressive and entitled to constitutional protection requires an inquiry into whether

  activity is ‘sufficiently imbued with the elements of communication to fall within the scope of

  the First . . . Amendment[].’” Muchmore’s Cafe, LLC, 2016 WL 11469539, at *11 (quoting

  Texas v. Johnson, 491 U.S. 397, 404 (1989) (holding that burning a flag in protest is expressive

  conduct protected under the First Amendment)). To determine “whether particular conduct

  possesses sufficient communicative elements to bring the First Amendment into play,” a court

  must analyze “whether ‘[a]n intent to convey a particularized message was present, and

  [whether] the likelihood was great that the message would be understood by those who viewed

  it.’” Id. (alterations in original) (quoting Johnson, 491 U.S. at 404). “[A]n activity need not

  necessarily embody ‘a narrow, succinctly articulable message,’ . . . but the reviewing court must




                                                  47
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 48 of 89 PageID #:
                                              906



  find, at the very least, an intent to convey ‘a particularized message’ along with a great

  likelihood that the message will be understood by those viewing it.” Zalewska v. County of

  Sullivan, 316 F.3d 314, 319 (2d Cir. 2003) (citation omitted) (first quoting Hurley v. Irish Am.

  Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569 (1995); and then quoting Johnson, 491

  U.S. at 404).

         However, that “something is in some way communicative does not automatically afford it

  constitutional protection. For purposes of the First Amendment, the Supreme Court has

  repeatedly rejected the view that ‘an apparently limitless variety of conduct can be labeled

  speech whenever the person engaging in the conduct intends . . . to express an idea.’”

  Muchmore’s Cafe, LLC, 2016 WL 11469539, at *11 (quoting Zalewska, 316 F.3d at 319); see

  also Stevens, 559 U.S. at 468 (stating that the First Amendment “permit[s] restrictions” on some

  types of speech, including obscenity, defamation, fraud, incitement, and “speech integral to

  criminal conduct”). “Therefore, a court determining whether ‘an activity [i]s sufficiently imbued

  with elements of communication to fall within the scope of the First . . . Amendment[],’ must

  examine the ‘nature’ of the activity ‘combined with the factual context and environment in which

  it was undertaken.’” Muchmore’s Cafe, LLC, 2016 WL 11469539, at *11 (alterations in

  original) (quoting Spence v. Washington, 418 U.S. 405, 409–10 (1974)); see also Lebowitz v.

  City of New York, 606 F. App’x 17, 17 (2d Cir. 2015) (“We agree with the [Occupy Wall Street]

  plaintiffs that their act of lying down in Zuccotti Park under the circumstances presented likely

  demonstrated ‘[a]n intent to convey a particularized message . . . [and] the likelihood was great

  that the message would be understood by those who viewed it,’ such that they engaged in

  protected expressive conduct.” (second alteration in original) (quoting Johnson, 491 U.S. at

  404)); Zalewska, 316 F.3d at 320 (“The Supreme Court has been careful to distinguish between




                                                   48
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 49 of 89 PageID #:
                                              907



  communicative activity with a clear contextual message, such as the wearing of a black armband

  in protest during the Vietnam War, compared with other types of activity, like choosing what to

  wear in the ordinary course of employment.” (citing Tinker v. Des Moines Sch. Dist., 393 U.S.

  503, 507–08 (1969))).

         In construing whether First Amendment protected activity is covered by Part 123, “[t]he

  language of the [l]aw itself is . . . the proper starting point.” Muchmore’s Cafe, LLC, 2016 WL

  11468539, at *8; see also New York v. Mountain Tobacco Co., 942 F.3d 536, 546 (2d Cir. 2019)

  (“The plain meaning [of a statute] is best discerned by ‘looking to the statutory scheme as a

  whole and placing the particular provision within the context of that statute.’” (quoting Saks v.

  Franklin Covey Co., 316 F.3d 337, 345 (2d Cir. 2003))); Mary Jo C. v. N.Y. State & Local Ret.

  Sys., 707 F.3d 144, 155 (2d Cir. 2013) (stating that statutory analysis begins with a “review [of]

  the statutory text, considering . . . the placement and purpose of those words in the statutory

  scheme”) (quoting United States v. Aguilar, 585 F.3d 652, 657 (2d Cir. 2009)), cert. dismissed,

  569 U.S. 1040 (2013).

         Part 123 prohibits the use of Indigenous names, logos, or mascots. 8 NYCRR §§ 123.1–

  123.5. The regulation states that “no public school in the State of New York may utilize or

  display an Indigenous name, logo, or mascot other than for purposes of classroom instruction.” 8

  NYCRR § 123.2. Part 123 defines “Indigenous name, logo, or mascot” as:

                 [A] name, symbol, or image that depicts or refers to Indigenous
                 persons, tribes, nations, individuals, customs, symbols, or traditions,
                 including actual or stereotypical aspects of Indigenous cultures,
                 used to represent a public school, including but not limited to such
                 schools sports teams. It does not include a public school, school
                 building, or school district named after an Indigenous tribe.

  Id. § 123.1. The language of Part 123 appears to directly implicate expressive activity in the

  form of using an Indigenous name, logo, or mascot in schools or at school functions. Id. The



                                                   49
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 50 of 89 PageID #:
                                              908



  regulation does not expressly distinguish between uses that honor Indigenous cultures and uses

  that are derogatory, but the regulation does permit public schools to continue using an

  Indigenous name, logo, or mascot with permission from a recognized tribe. See, e.g., id. §

  123.4(b) (permitting the use of Indigenous imagery “where a written agreement exists prior to

  the effective date of this part between a federally recognized tribal nation within the State of

  New York or a New York State recognized tribal nation and a public school”). Although the

  regulation prohibits school officers and employees from “utilizing or promoting any Indigenous

  name, logo, or mascot” while “on school property or at school function[,]” it contains no similar

  prohibition for members of the public. See id. § 123.5. The language of “utilizing or promoting”

  suggests that public school officers and employees are prohibited from wearing team apparel

  when it displays an Indigenous name, logo, or mascot.

         Neither Plaintiffs nor Defendants cite any decisions of other courts that have examined

  Part 123 or a similar regulation in an effort to determine its scope and sweep, and the Court is not

  aware of any. The regulation of a public school’s use of Indigenous names, logos, and mascots

  is an emerging issue in the First Amendment context. In one case involving the use of

  Indigenous symbols for a university sports team, the court found that the action implicated First

  Amendment rights. See Crue v. Aiken, 204 F. Supp. 2d 1130, 1134 (C.D. Ill. 2002), aff’d, 370

  F.3d 668 (7th Cir. 2004). In Crue, the University of Illinois implemented a preclearance

  directive which required “all faculty, staff and students at the University” to obtain the

  university’s permission before contacting prospective student athletes. Id. The plaintiffs sought

  to inform prospective students regarding the “concerns of Native Americans with respect to the

  Chief Illiniwek [mascot] controversy,” and challenged the university’s “preclearance directive”

  on overbreadth grounds. Id. at 1134–35. The court found that the preclearance directive




                                                   50
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25       Page 51 of 89 PageID #:
                                              909



  implicated the faculty and students’ rights under the First Amendment to engage in expressive

  speech. Id. at 1142–46.

         Similar to the preclearance directive in Crue that prohibited communications from all

  students, faculty, and employees, Part 123.5 prohibits all “school officers and employees” from

  using any Indigenous name, logo, mascot.20 However, Individual Board Member Plaintiffs only

  make a bare assertion that Part 123.5 “reaches a substantial amount of constitutionally protected

  First Amendment activity through viewpoint and/or content-based restrictions” that subsequently

  chills free speech. (Am. Compl. ¶¶ 148, 158.) Although Plaintiffs assert the regulation

  implicates Individual Board Member Plaintiffs’ “expressive conduct through wearing [team]

  apparel” in violation of the First Amendment, (id. ¶ 158), as discussed infra, (see infra section

  II.b.iii.2.), Individual Board Member Plaintiffs have failed to plead sufficient facts to support

  their claim that the conduct of such school officials and employees is on a matter of public

  concern and therefore within the scope of the First Amendment’s protection. See Church of Am.

  Knights of the Ku Klux Klan v. Kerik, 356 F.3d 197, 200, 207–08 (2d Cir. 2004) (finding no First

  Amendment implications where the “element [of a uniform] has no independent or incremental

  expressive value” in a case where Ku Klux Klan members challenged New York’s anti-mask

  law); Zalewska, 316 F.3d at 319–20 (holding that a female employee’s choice to wear a skirt,

  while expressive, “d[id] not constitute the type of expressive conduct which would allow her to

  invoke the First Amendment” because “no particularized communication can be divined simply

  from a woman wearing a skirt”). Because Plaintiffs have not sufficiently alleged that such

  conduct of school officials and employees implicates protected speech, the Court does not reach




         20
            Individual Board Member Plaintiffs make no argument as to the First Amendment
  implications of Part 123.1–4. (Am. Compl. ¶¶ 150–171.)


                                                   51
Case 2:23-cv-07052-MKB-LGD              Document 60     Filed 03/27/25      Page 52 of 89 PageID #:
                                                910



  the question of whether Part 123 is a substantial burden on free speech. The Court therefore

  grants Defendants’ motion to dismiss the overbreadth claim for failure to state a claim and grants

  Individual Board Member Plaintiffs leave to amend their Complaints to allege sufficient facts

  supporting their overbreadth claim.

                    iii. Individual Board Member Plaintiffs’ First Amendment free speech
                         claims

         Defendants argue that the Court should grant their motion to dismiss Individual Board

  Member Plaintiffs’ free speech claims for failing to state a claim under the First Amendment

  because they are barred by the government speech doctrine. (Defs.’ Mem. 30–36.) First,

  Defendants argue that the Indigenous team names, logos, and mascots themselves are

  government speech because such symbols (1) “have a long history of communicating

  government messages to students as well as the public at large,” (2) “are perceived as closely

  identified with the schools they represent,” and (3) school districts’ choices in team names,

  logos, and mascots are subject to the “final approval authority” of New York State. (Id. at 31–

  32.) Second, Defendants argue that Individual Board Member Plaintiffs’ conduct of wearing

  team apparel on school grounds and at school functions is government speech because (1) they

  are speaking as government employees, and (2) they are not speaking on a matter of public

  concern. (Id. at 33–36.) The Court addresses each argument below.

                            1.   Indigenous names, logos, and mascots as government speech

         Defendants argue the Indigenous team names, logos, and mascots “are quintessential

  government speech, and ‘therefore [are] not subject to scrutiny under the Free Speech Clause.’”

  (Defs.’ Mem. 30 (first citing Pleasant Grove City v. Summum, 555 U.S. 460, 464 (2009); and

  then citing Bank v. N.Y. State Dep’t of Ag. & Markets, No. 21-CV-642, 2022 WL 293812, at *5

  n.2 (N.D.N.Y. Feb.1, 2022)); Defs.’ Reply 22–30.) In support, Defendants argue, first, that



                                                  52
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 53 of 89 PageID #:
                                               911



  “school team names, logos, and mascots have a long history of communicating government

  messages to students as well as the public at large.” (Defs.’ Mem. 31; Defs.’ Suppl. Reply 1.)

  Second, Defendants argue that the “school team names, logos, and mascots are perceived as

  closely identified with the schools they represent.” (Defs.’ Mem. 31; Defs.’ Suppl. Reply 1.)

  Defendants argue that Massapequa Plaintiffs’ allegations that “you will see most people [at

  school events] are sporting ‘Chiefs’ apparel” and “the phrase ‘Once a Chief, always a Chief’ can

  be heard throughout the schools and community at large” show that the team names, logos, and

  mascots “convey[] some message on the school’s behalf.” (Defs.’ Mem. 31 (brackets omitted)

  (citing Pleasant Grove, 555 U.S. at 471); Defs.’ Suppl. Reply 1–2.) Third, Defendants argue that

  “the choice of team names and imagery is nevertheless government speech because it is

  effectively controlled by school districts, subject to the ‘final approval authority’ of the State.”

  (Defs.’ Mem. 32 (citing Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. 200,

  213 (2015)).) Lastly, Defendants argue that Plaintiffs “sidestep Defendants’ demonstration that

  the school sports teams names and imagery at issue are government speech” by merely asserting

  that this doctrine is the inappropriate lens for analyzing Individual Board Member Plaintiffs’ free

  speech claims. (Defs.’ Suppl. Reply 1.)

         Individual Board Member Plaintiffs argue that “the ‘government speech doctrine’ is not

  the appropriate lens through which to analyze the free speech claims.” (Pls.’ Suppl. Mem. 1;

  Pls.’ Opp’n 41–44.) In support, Plaintiffs argue that “Defendants cite factually distinguishable

  law, all of which applied the government speech doctrine to things like monuments, posters, and

  license plates.” (Pls.’ Opp’n 43.) Plaintiffs contend that “[w]hile a team logo may constitute

  government speech when affixed on a school district website, in an official letterhead, or a

  gymnasium wall,” a school community member’s expressive clothing worn “off-the-clock”




                                                    53
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 54 of 89 PageID #:
                                               912



  constitutes activity protected by the First Amendment. (Id. at 43; Pls.’ Suppl. Mem. 1.)

  Plaintiffs also argue that “unlike posters, banners, and bulletin boards, . . . clothing has long

  served as a canvas for an individual’s First Amendment-protected express activity.” (Pls.’ Opp’n

  44.)

         “The First Amendment, applicable to the States through the Fourteenth Amendment,

  prohibits the enactment of laws ‘abridging the freedom of speech.’” Reed v. Town of Gilbert,

  576 U.S. 155, 163 (2015) (quoting U.S. Const. amend. I); Raymond v. City of New York, 715 F.

  Supp. 3d 402, 408 (E.D.N.Y. 2024) (quoting Reed, 576 U.S. at 163) (same). However, when a

  government “‘engag[es] in [its] own expressive conduct, then the Free Speech Clause has no

  application’ because, while the First Amendment ‘restricts government regulation of private

  speech,’ it does not restrict the government’s speech.” Women for Am. First v. Adams, No. 21-

  485, 2022 WL 1714896, at *2 (2d Cir. May 27, 2022) (emphasis and alterations in original)

  (quoting Pleasant Grove, 555 U.S. at 467); see also Walker, 576 U.S. at 207 (“[G]overnment

  statements (and government actions and programs that take the form of speech) do not normally

  trigger the First Amendment rules”). “Thus, when the government speaks for itself, ‘it is not

  barred by the Free Speech Clause from determining the content of what it says,’ and ‘is entitled

  to favor certain views over others.’” Women for Am. First, 2022 WL 1714896, at *2 (first

  quoting Walker, 576 U.S. at 207; then quoting Wandering Dago, Inc. v. Destito, 879 F.3d 20, 34

  (2d Cir. 2018)); Raymond, 715 F. Supp. 3d at 409 (quoting Women for Am. First, 2022 WL

  1714896, at *2) (same).

                 To determine whether contested speech is government or private,
                 the Supreme Court has identified three primary factors: (1) whether
                 the medium has historically been used to “communicate messages
                 from the States”; (2) whether the medium is “often closely identified
                 in the public mind with the State,” i.e., whether it is reasonably
                 interpreted as “conveying some message on the [government’s]



                                                    54
Case 2:23-cv-07052-MKB-LGD            Document 60       Filed 03/27/25      Page 55 of 89 PageID #:
                                              913



                 behalf”; and (3) whether the government maintains direct, editorial
                 control over the message’s content.

  Women for Am. First, 2022 WL 1714896, at *2 (quoting Walker, 576 U.S. at 210–13, 219);

  Raymond, 715 F. Supp. 3d at 409 (same); see also Kennedy v. Bremerton Sch. Dist., 597 U.S.

  507, 528 (2022) (explaining a school coach engaged in private speech, not government speech,

  when he uttered prayers without his players at midfield); Shurtleff v. City of Bos., 596 U.S. 243,

  252 (2022) (explaining that “[t]he boundary between government speech and private expression

  can blur when . . . a government invites the people to participate in a program” and the court

  must “conduct a holistic inquiry to determine whether the government intends to speak for itself”

  in such situations). The Supreme Court exercises “great caution before extending . . .

  government-speech precedents,” because of the risk that “private speech could be passed off as

  government speech” and “silence[d] or muffle[d]” by “simply affixing a government seal of

  approval.” Matal v. Tam, 582 U.S. 218, 219, 237–38 (2017) (finding that registered trademarks

  are not government speech); Wandering Dago, 879 F.3d at 35 (quoting Matal, 582 U.S. at 219).

         The Court finds that a school district’s team names, logos, and mascots when worn on

  school team apparel is not government speech because, even assuming school team apparel has a

  history of communicating messages from the states, the display of team names, logos, and

  mascots on apparel is not “closely identified in the public mind” with New York State. See

  Walker, 579 U.S. at 209–13 (finding that Texas license plate designs are closely associated with

  Texas because “[e]ach Texas license plate is a government article serving the governmental

  purposes of vehicle registration and identification”); Matal, 582 U.S. at 238 (explaining that

  “Walker . . . likely marks the outer bounds of the government-speech doctrine”); New Hope Fam.

  Servs. v. Poole, 966 F.3d 145, 171 (2d Cir. 2020) (explaining that “the mere fact that government

  authorizes, approves, or licenses certain conduct does not transform the speech engaged in



                                                  55
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 56 of 89 PageID #:
                                              914



  therein to government speech.”); Mech v. Sch. Bd. of Palm Beach Cnty., 806 F.3d 1070, 1074–76

  (11th Cir. 2015) (finding that banners advertising a private business on school grounds are

  government speech in part because the “banners are hung on school fences, and government

  property is ‘often closely identified in the public mind with the government unit that owns the

  land.’” (quoting Pleasant Grove, 555 U.S. at 472)). Although Defendants argue that the team

  names, logos, and mascots themselves are government speech, (Defs.’ Mem. 31–32), Plaintiffs

  have only alleged that Part 123 implicates their ability to wear these symbols on the “medium” of

  school team apparel. (Am. Compl. ¶ 171; 23-CV-7696 Am. Compl. ¶ 193; 23-CV-7229 Am.

  Compl. ¶¶ 218, 227.) Unlike in Walker where the license plates functioned as “essentially,

  government IDs,” apparel with a school’s team name, logo, or mascot is merely worn as a source

  of school pride and to support the school community — not as a method of government

  identification. (Am. Compl. ¶¶ 161, 166); see Walker, 579 U.S. at 212 (finding that license

  plates are closely associated with Texas because “every Texas license plate is issued by the

  state,” the state name appears “in large letters at the top of every plate,” Texas vehicle owners

  are required to display Texas license plates, Texas “owns the designs on its license plates,” and

  Texas determines how drivers can dispose of unused plates). Further, unlike the license plates in

  Walker that included the state name on the license plate, the logos, team names, and mascots

  displayed on the school team apparel do not reference “New York.” (Am. Compl. ¶ 47; 23-CV-

  7696 Am. Compl. ¶¶ 73–76; 23-CV-7299 Am. Compl. ¶¶ 54–55); see Walker, 579 U.S. at 212

  (explaining that the “governmental nature of the plates is clear from their faces” because “the

  [s]tate places the name ‘TEXAS’ in large letters at the top of every [license] plate”).

  Accordingly, these symbols on team apparel do not allow the public to “appreciate the identity of

  the speaker” as New York State. Pleasant Grove, 555 U.S. at 471.




                                                   56
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 57 of 89 PageID #:
                                              915



         In addition, New York maintains minimal control over usage of the school team apparel

  with team names, logos, and mascots. Appeal of McMillan, 61 Ed. Dept. Rep., Decision No.

  18,058 (citing Appeal of Tobin, 25 Ed. Dept. Rep. 301, Decision No. 11,591) (discussing how “a

  board of education generally has discretion to determine ‘the propriety of [a sports] team name,’”

  and “may abuse its discretion if a team name mascot, or logo inhibits the creation of ‘a safe and

  supportive [learning] environment’”); Walker, 579 U.S. at 209–13 (finding that Texas’s

  prohibition against the display of the confederate flag on specialty license plates is government

  speech in part because “Texas maintains direct control over the messages conveyed on its

  specialty plates” by exercising “final approval authority”). Unlike in Walker, where Texas

  “actively exercised” its authority to have “sole control over the design, typeface, color, and

  alphanumeric pattern for all license plates,” New York only reviews a board of education’s

  choices in team name for an abuse of discretion. Walker, 579 U.S. at 209–13; Appeal of Tobin,

  25 Ed. Dept. Rep. 301, Decision No. 11,591 (“Such decisions [regarding sports team names,

  mascots and logos] will only be reversed upon a showing that a board abused its discretion.”);

  see also Cambridge Christian Sch. v. Fla. High Sch. Athletic Ass’n, Inc., 115 F. 4th 1266, 1292–

  93 (11th Cir. 2024) (finding that a school athletic association’s denial of a school’s request to

  present a prayer over the announcement system fell outside of the First Amendment because

  announcements over the public announcement system, including those by private parties, are

  perceived to be government speech); Cajune v. Indep. Sch. Dist. 194, 105 F.4th 1070, 1082 (8th

  Cir. 2024) (holding that Black Lives Matter posters placed in public schools were not

  government speech because the school district relinquished control by allowing “private persons,

  including ‘staff and families’ in the District” to place posters on school walls); Shurtleff, 596

  U.S. at 256–57 (finding that a city’s flag-raising program was not government speech where the




                                                   57
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 58 of 89 PageID #:
                                               916



  city did not exercise sufficient control over the program because “[t]he city’s practice was to

  approve flag raisings, without exception” and “ha[d] no record of [previously] denying a

  request”). Further, in at least one instance, the team apparel bearing the school team name, logo,

  and mascot is not exclusively provided by New York State or its public schools. (Am. Compl. ¶

  54 (“At any school or community function, you will see most people are sporting ‘Chiefs’

  apparel, which is not only sold in the Massapequa High School Chiefs Apparel Store, but in other

  privately-owned businesses around town.”).) Because school team apparel is not closely

  associated with the state and there is no indication that the apparel is distributed subject to a

  “final approval authority,” the school districts’ team names, logos, and mascots are not

  government speech when displayed on school team apparel.

                             2.   Individual Board Member Plaintiffs’ conduct as government
                                  speech

         Defendants argue, in the alternative, that Individual Board Member Plaintiffs’ expressive

  conduct in wearing team apparel is government speech and that the “First Amendment is

  inapplicable to 8 NYCRR § 123.5 for the separate and independent reason that any speech

  related to such symbols is public employee speech.” (Defs.’ Mem. 33.) First, Defendants argue

  that Plaintiffs speak as government employees — not private citizens. (Id. at 33–34; Defs.’

  Suppl. Mem. 2.) Defendants contend that, within the “spatial confines” of school grounds and

  functions, any speech related to the Indigenous names, mascots, and logos, including display of

  such symbols to “support” the school community, “is inextricably intertwined with their official

  position as board members.” (Defs.’ Mem. 34; see also Defs.’ Suppl. Reply 3.) In support,

  Defendants emphasize Individual Board Member Plaintiffs’ “high level of authority and

  responsibility” and argue that Part 123 “expressly requires school boards to devise their school

  districts’ plans to eliminate the use of Indigenous names and imagery.” (Defs.’ Mem. 34–35; see



                                                    58
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 59 of 89 PageID #:
                                               917



  also Defs.’ Suppl. Mem. 3.) Second, Defendants argue that Individual Board Member Plaintiffs’

  Indigenous team apparel is not speech on a matter of public concern. (Id. at 35.) In support,

  Defendants argue that Plaintiffs “do not allege any broader public statement associated with their

  expressive conduct,” (id. at 36), and any “proposed protest concerning the propriety of their

  districts’ Indigenous team names and logos would necessarily be ‘part-and-parcel’ of their

  responsibility as board members to choose their districts’ team names and logos,” (Defs.’ Suppl.

  Mem. 2). Defendants argue that “Plaintiffs can assert no First Amendment based claim,

  retaliation or otherwise, without first satisfying the strictures of Garcetti [v. Ceballos, 547 U.S.

  410 (2006)].” (Defs.’ Suppl. Reply 2.) Third, Defendants argue that “[e]ven if the [Individual]

  Board Member Plaintiffs had alleged a desire to act as private citizens on a matter of public

  concern,” Part 123 would pass the Pickering/NTEU21 balancing test because “the State’s policy

  of ensuring a discrimination- and harassment-free learning environment for all students by

  prohibiting the use of Indigenous names, mascots, and logos” outweighs Individual Board

  Member Plaintiffs’ interest in expressing support for their schools. (Defs.’ Mem. at 37–38; see

  also Defs.’ Suppl. Reply 3–4.) Finally, Defendants argue that “Plaintiffs’ belated attempt to

  revise their claims should be rejected because ‘Plaintiff[s] may not amend [their] [Amended]

  [C]omplaint[s] through [their] opposition to a motion to dismiss and the Court is constrained in




         21
             United States v. Nat’l Treasury Emps. Union (“NTEU”), 513 U.S. 454, 468 (1995)
  (explaining that where a ban “chills potential speech before it happens” that “Government must
  show that the interests of both potential audiences and a vast group of present and future
  employees in a broad range of present and future expression are outweighed by that expression's
  ‘necessary impact on the actual operation’ of the Government.” (first citing Near v. Minnesota ex
  rel Olson, 283 U.S. 697 (1931), and then quoting Pickering v. Bd. of Ed. of Twp. High Sch. Dist.
  205, Will Cnty., 391 U.S. 563, 571 (1968))); Pickering, 391 U.S. at 568 (explaining that “[t]he
  problem in any case is to arrive at a balance between the interests of the [employee], as a citizen,
  in commenting upon matters of public concern and the interest of the State, as an employer, in
  promoting the efficiency of the public services it performs through its employees.”).

                                                    59
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 60 of 89 PageID #:
                                               918



  determining whether a claim’s plausibility by what is contained on the face of the complaint.’”

  (Defs.’ Suppl. Mem. 2 (first, second, and fifth alteration in original) (citing Lyman v. NYS

  OASAS, 928 F. Supp. 2d 509, 527 n.5 (N.D.N.Y. 2013)).)

         Plaintiffs argue, first, that they are “not expressing government speech” because they are

  “engaging in associational activities and viewpoint expression as individuals, parents and

  members of the school community.” (Pls.’ Suppl. Mem. 1; see also Pls.’ Opp’n 42–43 (first

  citing Latino Officers Ass’n, N.Y., Inc. v. City of New York, 196 F.3d 458, 468–69 (2d Cir. 1999);

  then citing Kennedy, 597 U.S. at 528–29).) Plaintiffs also argue that the government speech

  doctrine is inapplicable to Individual Board Member Plaintiffs because they are volunteer board

  of education members — not employees. (Pls.’ Suppl. Mem. 2–3.) Second, Plaintiffs argue that

  they are engaged in a matter of public concern because “Individual [Board Member] Plaintiffs

  wear their team apparel to demonstrate pride in and approval of their respective team names.”

  (Pls.’ Opp’n 47.) Third, Plaintiffs argue that, as a prior restraint, Part 123.5 is subject to the

  more rigorous NTEU balancing test, not Pickering. (Pls.’ Suppl. Mem. 2 (citing Latino Officers

  Ass’n, N.Y., Inc., 196 F.3d at 464).) In support, Plaintiffs argue that Part 123 is unconstitutional

  under the NTEU balancing test because “Defendants have provided no examples of DASA

  violations relating to the Massapequa Chiefs, the Wantagh Warriors, the Wyandanch Warriors, . .

  . or the Connetquot Thunderbirds.” (Pls.’ Opp’n 48–49.) Finally, Plaintiffs argue that they are

  not required to “recite every basis for which [P]laintiffs engaged in activity protected by the First

  Amendment” and that their “[p]leadings must be construed so as to do justice,” such as

  protesting the regulations at issue, in their initial pleadings. (Pls.’ Suppl. Mem. 1 n.1 (first citing

  Fed. R. Civ. P. 8(a); and then quoting Fed. R. Civ. P. 8(e)).)

         As the Supreme Court has made clear, public employees do not surrender their First




                                                    60
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 61 of 89 PageID #:
                                              919



  Amendment rights to comment on matters of public interest because of their employment. See

  Garcetti, 547 U.S. at 417 (“[P]ublic employees do not surrender all their First Amendment rights

  by reason of their employment. Rather, the First Amendment protects a public employee’s right,

  in certain circumstances, to speak as a citizen addressing matters of public concern.” (citations

  omitted)); Pickering v. Bd. of Ed. of Twp. High Sch. Dist. 205, Will County, 391 U.S. 563, 568

  (1968) (noting that the Supreme Court has “unequivocally rejected” the notion that “teachers

  may constitutionally be compelled to relinquish the First Amendment rights they would

  otherwise enjoy as citizens to comment on matters of public interest in connection with the

  operation of the public schools in which they work”); see also Wrobel v. County of Erie, 692

  F.3d 22, 27 (2d Cir. 2012) (“Public employees do not surrender their First Amendment rights to

  comment on matters of public interest by virtue of their acceptance of government employment.”

  (citations omitted)).

         The Supreme Court has instructed courts to conduct a two-step inquiry into whether a

  public employee’s speech is entitled to protection:

                  The first [step] requires determining whether the employee spoke as
                  a citizen on a matter of public concern. If the answer is no, the
                  employee has no First Amendment cause of action based on his or
                  her employer’s reaction to the speech. If the answer is yes, then the
                  possibility of a First Amendment claim arises. The question [then]
                  becomes whether the relevant government entity had an adequate
                  justification for treating the employee differently from any other
                  member of the general public.

  Lane v. Franks, 573 U.S. 228, 237 (2014) (quoting Garcetti, 547 U.S. at 418); Piscottano v.

  Murphy, 511 F.3d 247, 270 (2d Cir. 2007) (“If the answer [to the first question] is yes, then the

  possibility of a First Amendment claim arises.” (quoting Garcetti, 547 U.S. at 418)).22 Thus, the



         22
              Individual Board Member Plaintiffs’ free speech claims under Article 1, Section 8 of



                                                   61
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 62 of 89 PageID #:
                                              920



  First Amendment protects a public employee for the employee’s speech only if the employee

  speaks “[1] as a citizen [2] on a matter of public concern.” Singer v. Ferro, 711 F.3d 334, 339

  (2d Cir. 2013) (alterations in original) (quoting Garcetti, 547 U.S. at 418); Specht v. City of New

  York, 15 F.4th 594, 600 (“The speech of a public employee is protected by the First Amendment

  when the employee speaks as a citizen on a matter of public concern, rather than pursuant to his

  employment responsibilities.”); Montero v. City of Yonkers, 890 F.3d 386, 395 (2d Cir. 2018)

  (same); see also Eyshinskiy v. Kendall, 692 F. App’x 677, 678 (2d Cir. 2017) (“The first inquiry

  encompasses two separate questions: ‘(1) whether the subject of the employee’s speech was a

  matter of public concern and (2) whether the employee spoke as a citizen rather than solely as an

  employee. If the answer to either question is no, that is the end of the matter.’” (quoting

  Matthews v. City of New York, 779 F.3d 167, 172 (2d Cir. 2015))); Garcia v. Hartford Police

  Dep’t, 706 F.3d 120, 129–30 (2d Cir. 2013) (“[T]he plaintiff must show that . . . the speech at

  issue was made as a citizen on matters of public concern rather than as an employee on matters

  of personal interest . . . .”); Best Payphones Inc. v. Dobrin, 410 F. Supp. 3d 457, 474 (E.D.N.Y.

  2019) (same). When an employee has spoken on a matter of public concern, “a court must

  balance ‘the employee’s interest in expressing herself’ against ‘any injury the speech could cause



  the New York State Constitution are subject to the same analysis as their First Amendment
  claims. See Martinez v. Sanders, 307 F. App’x 467, 468 & n.2 (2d Cir. 2008) (noting that the
  plaintiff's “freedom of speech, political freedom and affiliation, and freedom of association”
  claims under Article 1 § 8 of the New York State Constitution were “subject to the same
  standards as the First Amendment claims” (citations omitted)); Carter v. Inc. Vill. of Ocean
  Beach, 693 F. Supp. 2d 203, 212 (E.D.N.Y. 2010), aff’d, 415 F. App’x 290 (2d Cir. 2011)
  (“[F]ree speech claims under Article 1, Section 8 of the New York State Constitution are subject
  to the same analysis as free speech claims under the First Amendment[.]” (citations omitted));
  Hous. Works, Inc. v. Turner, 179 F. Supp. 2d 177, 199 n.25 (S.D.N.Y. 2001) (“Free speech
  claims under the First Amendment and the New York State Constitution are subject to the same
  standards[.]”). Because the Court dismisses Individual Board Member Plaintiffs’ federal free
  speech claims, the Court similarly grants Defendants’ motion to dismiss Individual Board
  Member Plaintiffs’ state free speech claims.


                                                  62
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 63 of 89 PageID #:
                                               921



  to the interest of the State, as an employer, in promoting the efficiency of the public services it

  performs through its employees.’” Locurto v. Giuliani, 447 F.3d 159, 172 (2d Cir. 2006)

  (citation and internal quotation marks omitted); see Garcetti, 547 U.S. at 418 (explaining that the

  court must consider “whether the relevant government entity had an adequate justification for

  treating the employee differently from any other member of the general public”); Piscottano, 511

  F.3d at 270 (explaining how courts must consider whether the government “employer has shown

  that the employee’s interest in expressing himself on that matter is outweighed by injury that the

  speech could cause to the employer’s operations” (citations omitted)). The Second Circuit has

  held that the “public concern” requirement applies to associational conduct in addition to speech.

  Cobb v. Pozzi, 363 F.3d 89, 102 (2d Cir. 2004).

         A matter of public concern is “is a question of law to be determined based on ‘the

  content, form, and context of a given statement, as revealed by the whole record,’” including

  “whether the speech . . . had a broader public purpose,” and “whether the speech can ‘be fairly

  considered as relating to any matter of political, social, or other concern to the community’” See

  Heim v. Daniel, 81 F.4th 212, 228 (2d Cir. 2023) (first quoting Connick, 461 U.S. at 147–48 &

  n.7; then quoting Singer, 711 F.3d at 339; and then quoting Lane, 573 U.S. at 241); Spencer, 540

  F. App’x at 70 (“A matter of public concern is one that relates to any matter of political, social,

  or other concern to the community.” (alteration and internal quotation marks omitted) (quoting

  Singer, 711 F.3d at 339)); City of San Diego v. Roe, 543 U.S. 77, 83–84 (2004) (“[P]ublic

  concern is something that is a subject of legitimate news interest; that is, a subject of general

  interest and of value and concern to the public at the time of publication”). To determine

  whether speech is a matter of public concern, the Court must take into consideration the

  “content, form, and context” of the speech. See Singer, 711 F.3d at 339 (“Whether an




                                                   63
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 64 of 89 PageID #:
                                              922



  employee’s speech addresses a matter of public concern must be determined by the content,

  form, and context of a given statement, as revealed by the whole record.” (quoting Connick v.

  Myers, 461 U.S. 138, 146 (1983))); Spencer, 540 F. App’x at 70 (same); see also Adams, 536 F.

  App’x at 145 (“Whether speech is a matter of public concern is . . . determined by the ‘content,

  form and context of a given statement, as revealed by the whole record.’” (quoting Connick, 461

  U.S. at 147–48 & n.7)); Wells v. Saratoga Hosp., No. 24-CV-260, 2025 WL 391180, at *7

  (N.D.N.Y. Feb. 4, 2025) (“Whether speech is on a matter of public concern is a question of law

  to be determined based on the content, form, and context of a given statement, as revealed by the

  whole record” (internal quotation marks omitted) (quoting Heim, 81 F.4th at 228)).

         The court must also examine whether the speech addresses a personal grievance or has a

  public purpose. Spencer, 540 F. App’x at 70 (“Among the relevant considerations is whether the

  speech was calculated to redress personal grievances or whether it had a broader public

  purpose.” (quoting Singer, 711 F.3d at 339)); see also Heim, 81 F.4th at 228 (explaining that

  courts “look[] to, among other things, ‘whether the speech . . . had a broader public purpose” in

  determining whether speech addresses matter of public concern (quoting Singer, 711 F.3d at

  339)); MacFall v. City of Rochester, 495 F. App’x 158, 160–61 (2d Cir. 2012) (stating that

  speech is not protected if it is “merely ‘calculated to redress personal grievances’” (quoting

  Ruotolo v. City of New York, 514 F.3d 184, 189 (2d Cir. 2008))); Wells, 2025 WL 391180, at *7

  (“[W]hen assessing whether speech was a matter of public concern, courts consider ‘whether the

  employee’s speech was calculated to redress personal grievances or whether it had a broader

  public purpose.’” (quoting Ruotolo, 514 F.3d at 189)). Although the court can consider the

  employee’s motive, any such motive is not dispositive of the issue. Spencer, 540 F. App’x at 70

  (“The employee’s motive for speaking ‘surely may be one factor’ in determining whether the




                                                  64
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 65 of 89 PageID #:
                                               923



  speech was on a matter of public concern, but motive ‘is not, standing alone, dispositive or

  conclusive.’” (quoting Sousa v. Roque, 578 F.3d 164, 175 (2d Cir. 2009))). “The fact that a

  statement was made to the employer in private is not determinative of whether its subject was a

  matter of public concern.” Jackler v. Byrne, 658 F.3d 225, 235–36 (2d Cir. 2011) (citations

  omitted).

         When an employee speaks as a citizen on a matter of public concern, the Court must

  “balance between the interests of the [employee], as a citizen, in commenting upon matters of

  public concern and the interest of the State, as an employer, in promoting the efficiency of the

  public services it performs through its employees.” Pickering, 391 U.S. at 568. In situations

  involving prior restraints on such speech, “the Government must show that the interests of both

  potential audiences and a vast group of present and future employees in a broad range of present

  and future expression are outweighed by that expression’s ‘necessary impact on the actual

  operation’ of the Government.’” NTEU, 513 U.S. at 468 (quoting Pickering, 391 U.S. at 571);

  Latino Officers Ass’n, N.Y., Inc., 196 F.3d at 463 (explaining that “the government’s burden of

  justification is ‘greater’ with respect to . . . ex ante restrictions”); Harman v. City of New York,

  140 F.3d 111, 118 (2d Cir. 1998) (“The burden is particularly heavy where, as here, the issue is

  not an isolated disciplinary action taken in response to one employee’s speech, but is, instead, a

  blanket policy designed to restrict expression by a large number of potential speakers”). The

  burden is on the government to “demonstrate that the recited harms are real, not merely

  conjectural, and that the regulation will in fact alleviate these harms in a direct and material

  way.” NTEU, 513 U.S. at 475 (quoting Turner Broadcasting Sys., Inc. v. FCC, 512 U.S. 622,




                                                    65
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 66 of 89 PageID #:
                                              924



  664 (1994)); Latino Officers Ass’n, N.Y., Inc., 196 F.3d at 463 (explaining that “the government

  ‘must do more than simply posit the existence of the disease sought to be cured’”).23

         While the Court finds that Individual Board Member Plaintiffs spoke as citizens when

  wearing school apparel at school-affiliated events, Individual Board Member Plaintiffs have

  failed to allege that they were speaking on a matter of public concern when doing so.

  Accordingly, Individual Board Member Plaintiffs’ speech does not garner First Amendment

  protections.24



         23
             Plaintiffs argue that the Court must apply the NTEU balancing test regardless of
  whether the government employees have spoken as citizens on public concern. (Pls.’ Suppl.
  Mem. 2.) In support, Plaintiffs primarily rely on the government speech analysis in Latino
  Officers Ass’n. (Id.) See Latino Officers Ass’n, N.Y., Inc. v. City of New York, 196 F.3d 458, 463,
  465 (2d Cir. 1999) (holding that “the District Court properly subjected the defendants to the
  ‘greater’ burden of justification set forth in NTEU” when government employees challenged an
  New York Police Department “parade policy restrain[ing] speech ‘before it occurs’” (citation
  omitted)). However, in applying the NTEU standard, the Second Circuit in Latino Officers
  Ass’n, examined whether the government employees had spoken on a matter of public concern.
  See Latino Officers Ass’n, N.Y., Inc. 196 F.3d at 466 (discussing how plaintiffs’ interest in
  communicating ethnic pride as members of the NYPD is not necessarily a matter only of private
  concern when applying the heightened NTEU standard); Harman v. City of New York, 140 F.3d
  111, 118 (2d Cir. 1998) (discussing how the plaintiffs each had an interest “in being able to
  comment on matters of public concern” where the plaintiffs challenged a “prospective
  regulation” that operated as “a blanket policy designed to restrict expression by a large number
  of potential speakers”). Thus, contrary to Plaintiffs’ argument, the Court finds it is appropriate to
  first examine whether the government employees have spoken as citizens on a matter of public
  concern.
         24
             Although Plaintiffs contend that the government speech doctrine is inapplicable
  because they are volunteer board members, as opposed to employees, (Pls.’ Suppl. Mem. 2),
  courts in the Second Circuit have applied the government speech doctrine to volunteers. See
  Langton v. Town of Chester, 168 F. Supp. 3d 597, 604 (S.D.N.Y. 2016) (“The Second Circuit has
  employed the public employee First Amendment claim analysis specifically with respect to
  volunteers.” (first citing Gorman–Bakos v. Cornell Co-op Extension of Schenectady Cnty., 252
  F.3d 545, 549, 551–57 (2d Cir. 2001); and then citing Monz v. Rocky Point Fire Dist., 519 F.
  App’x 724, 726–27 (2d Cir. 2013))); see also Gorman–Bakos v. Cornell Co-op Extension of
  Schenectady Cnty., 252 F.3d 545, 549, 551–57 (2d Cir. 2001) (applying a First Amendment
  retaliation claim analysis to a case involving volunteer leaders for a youth program); Monz, 519
  F. App’x at 726-27 (applying Garcetti to a volunteer firefighter’s First Amendment claims);



                                                   66
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 67 of 89 PageID #:
                                               925



                                     A. Plaintiffs plausibly spoke as citizens

         The wearing of team apparel while attending school games and functions is not part of

  each Individual Board Member Plaintiff’s “employment responsibilities,” as a school board

  member. N.Y. Educ. L. § 1709 (describing how the powers and duties of a board of education

  member include, inter alia, “establish[ing] such rules and regulations concerning the order and

  discipline of the schools” and “prescrib[ing] the text-books to be used”); Lane, 573 U.S. at 237–

  40 (“[W]hen public employees make statements pursuant to their official duties, the employees

  are not speaking as citizens for First Amendment purposes . . . . The critical question . . . is

  whether the speech at issue is itself ordinarily within the scope of an employee’s duties, not

  whether it merely concerns those duties.” (quoting Garcetti, 547 U.S. at 421)). There is no

  indication that wearing team apparel is “part-and-parcel” of Individual Board Member Plaintiffs’

  ability to exercise their “official duties” as school board members. Montero, 890 F.3d at 396

  (quoting Weintraub v. N.Y.C. Bd. of Educ. of City School Dist., 593 F.3d 196, 203 (2d Cir.

  2010)); United Veterans Mem’l and Patriotic Ass’n of the City of New Rochelle v. City of New

  Rochelle, 72 F. Supp. 3d 468, 478 (S.D.N.Y. 2014) (finding that a veterans’ association’s display

  of a historical flag on a city flagpole was government speech that was excluded from First

  Amendment protections), aff’d, 615 F. App’x. 693 (2d Cir. 2015); see also Kennedy, 597 U.S. at

  512–14, 529 (finding that a high school football coach “offer[ing] a quiet prayer of thanks” at



  Morton v. County of Erie, 335 F. Supp. 3d 449, 452 (W.D.N.Y. 2018) (noting that the court
  previously dismissed a former elected legislator’s First Amendment retaliation claim), aff’d, 796
  F. App’x 40 (2d Cir. 2019); Joinnides v. Floral Park-Bellerose Union Free Sch. Dist., No. 12-
  CV-5682, 2016 WL 3841096, at *15 (E.D.N.Y. July 13, 2016) (noting that “courts in th[e]
  [Second] Circuit have considered civic volunteers to be public employees in the context of First
  Amendment retaliation claims” and therefore finding framework applicable to plaintiff’s conduct
  while serving on the school board’s budget advisory committee). The Court therefore applies a
  First Amendment claims analysis to Individual Board Member Plaintiffs’ First Amendment free
  speech claims.


                                                    67
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 68 of 89 PageID #:
                                              926



  midfield after games was private speech because “he was not engaged in speech ‘ordinarily

  within the scope’ of his duties as a coach”). Rather than acting as representatives of the school,

  Individual Board Member Plaintiffs allege that they wear the school apparel in their roles as a

  “member of the school community, parent, and/or relative.” (Pls.’ Opp’n 42–46; Am. Compl.

  ¶ 171.) Plaintiffs therefore plausibly speak as citizens for purposes of First Amendment

  protection when they wear team apparel to school games and functions.

                                    B. Matter of public concern

         Each Plaintiff alleges that they wear their school team apparel at school functions to

  support their school community. (Am. Compl. ¶ 166; 23-CV-7299 Am. Compl. ¶¶ 226, 230–32;

  23-CV-7696 Am. Compl. ¶ 193.) However, wearing team apparel to support a community does

  not convey a sufficiently particularized message to constitute a matter of public concern. See

  Roe, 543 U.S. at 84 (finding that “there is no difficulty in concluding that [plaintiff’s] expression

  does not qualify as a matter of public concern under any view of the public concern test” where

  the police officer made and sold sexually explicit videos and that because “[h]e fails the

  threshold test [then] Pickering balancing does not come into play”); Church of Am. Knights of

  the Ku Klux Klan, 356 F.3d at 200, 207–08 (holding that when “a statute banning conduct

  imposes a burden on the wearing of an element of an expressive uniform, which element has no

  independent or incremental expressive value, the First Amendment is not implicated” in a case

  where Ku Klux Klan members challenged New York’s anti-mask law); Zalewska, 316 F.3d at

  319–20 (holding that a female employee’s choice to wear a skirt, while expressive, “did not

  constitute the type of expressive conduct which would allow her to invoke the First Amendment”

  because the message she “intend[ed] to convey [was] not a specific, particularized message, but

  rather a broad statement of cultural values” and because “the ordinary viewer would glean no




                                                   68
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 69 of 89 PageID #:
                                              927



  particularized message from [her] wearing of a skirt rather than pants as part of her uniform”).

  Accordingly, Plaintiffs’ allegations contain no indication that their association with the

  Indigenous team names, logos, and mascots are “relat[ed] to any matter of political, social, or

  other concern to the community.”25 Piscottano, 511 F.3d at 253, 270, 274–76 (finding that “the

  nature and character of the Outlaws [criminal organization] is a topic of public concern” and that

  plaintiffs, who were correctional officers, engaging “in expressive conduct approving of the

  Outlaws,” such as wearing Outlaw colors and denying Outlaws chapters have engaged in

  criminal activity, merit First Amendment protections (citing Connick, 461 U.S. at 146)); see also

  Latino Officers Ass’n, N.Y., Inc., 196 F.3d at 466, 468–69 (finding that “plaintiffs’ interest in

  communicating ethnic pride as members of the NYPD is not necessarily a matter only of private



         25
              In their opposition, Plaintiffs argue that “wear[ing] Chiefs, Warriors, or Thunderbirds
  apparel to school events” is now a “political protest due to Part 123.” (Pls.’ Opp’n 34.) The
  Second Circuit has recognized that protests by government employees may constitute matters of
  public concern. See, e.g., Church of Am. Knights of the Ku Klux Klan v. Kerik, 356 F.3d 197, 207
  (2d Cir. 2004) (holding that the “New York Police Department’s parade policy likely ran afoul of
  the First Amendment by preventing the plaintiffs . . . from marching in parades while wearing
  their police uniforms to protest discrimination and misconduct within the police force”);
  Zalewska v. County of Sullivan, 316 F.3d 314, 320 (2d Cir. 2003) (“The Supreme Court has been
  careful to distinguish between communicative activity with a clear contextual message, such as
  the wearing of a black armband in protest during the Vietnam War, compared with other types of
  activity, like choosing what to wear in the ordinary course of employment.”) (citing Tinker v.
  Des Moines Sch. Dist., 393 U.S. 503, 507–08 (1969)). However, Individual Board Member
  Plaintiffs cannot amend their Complaint through their motion papers. See Wright v. Ernst &
  Young LLP, 152 F.3d 169, 178 (2d Cir. 1998) (rejecting claim raised for the first time in
  plaintiff's brief in opposition to the defendant’s motion to dismiss); D’Alessandro v. City of New
  York, 713 F. App’x 1, 10 n.12 (2d Cir. 2017) (explaining that a court will “test the sufficiency of
  a complaint in response to a Rule 12(b)(6) motion to dismiss” and that a plaintiff is “not entitled
  to amend its complaint through statements made in motion papers.” (first citing Physicians
  Healthsource, Inc. v. Boehringer Ingelheim Pharm., Inc., 847 F.3d 92, 94 (2d Cir. 2017); then
  quoting Wright, 152 F.3d at 178); Haczynska v. Mount Sinai Health Sys., Inc., 738 F. Supp. 3d
  300, 317 n.11 (E.D.N.Y. 2024) (explaining that “[i]t is axiomatic that the [c]omplaint cannot be
  amended by the briefs in opposition to a motion to dismiss.” (alteration in original) (collecting
  cases)); Trooper 1 v. N.Y. State Police, No. 22-CV-893, 2024 WL 3401196, at *5 (E.D.N.Y. July
  12, 2024) (declining to address a hostile work environment argument because it was an
  “argument advanced only in [plaintiff’s] opposition brief”).


                                                   69
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 70 of 89 PageID #:
                                              928



  concern” where the police department “authorize[d] other groups such as the Hispanic Society to

  march in uniform,” but sought to prohibit members of the New York Police Department’s Latino

  Officers Association from doing the same); Rys v. Grimm, No. 19-CV-1251, 2021 WL 827671,

  at *7 (N.D.N.Y. Mar. 4, 2021) (noting that the plaintiff failed to allege “anything indicating that

  her ‘association with an “openly gay” student’ was intended to convey a public message or

  ‘advance a political or social point of view beyond the employment context’ that would make it a

  public concern”); Medici v. City of Chicago, 144 F. Supp. 3d 984, 978–88 (N.D. Ill. 2015)

  (finding constitutional a policy requiring on-duty police officers to cover up tattoos and

  explaining that “[p]laintiffs’ tattoos are a form of personal expression, and not a form of speech

  on matters of public concern” because “[w]hen an individual decides to place a symbol, a set of

  words, or a design on his or her body, he or she is engaging in a form of personal expression,

  rather than a form of commentary on the interests of the public.”).

         Since Plaintiffs have not spoken on a matter of public concern and therefore their conduct

  is not protected by the First Amendment, the Court does not reach the merits of their free speech

  claims or whether Part 123.5 constitutes a content- or viewpoint-based prior restraint on free

  speech. The Court grants Defendants’ motion to dismiss Individual Board Member Plaintiffs

  First Amendment free speech claims and grants them leave to amend to allege specific facts

  supporting their claims.26




         26
             The Court notes that, as alleged, Individual Board Member Plaintiffs have only
  challenged Part 123.5 as violating the First Amendment. (Am. Compl. ¶¶ 150–71.) Accordingly,
  even if Individual Board Member Plaintiffs amend their Complaint to state a plausible First
  Amendment challenge to Part 123.5, a finding that Part 123.5 is unconstitutional would not
  affect Part 123.3, which requires schools to eliminate prohibited Indigenous names, logos, and
  mascots no later than the end of the 2024–2025 school year. 8 NYCRR § 123.3.



                                                  70
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25     Page 71 of 89 PageID #:
                                              929



                    iv. Constitutional separation of powers claims

         Plaintiffs attempt to allege a separation of powers claim under the New York State

  Constitution,27 (Am. Compl. ¶¶ 126–31), but for the reasons explained below, the Court declines

  to exercise supplemental jurisdiction over the claim.

         Defendants argue that the Court should decline to exercise supplemental jurisdiction over

  Plaintiffs’ New York Constitution separation of powers claim pursuant to 28 U.S.C. §

  1367(c)(1), and if the Court does exercise supplemental jurisdiction, the Court should

  nevertheless find that Plaintiffs have failed to state a valid claim.28 (Defs.’ Mem. 16, 18–19.) In


         27
             Plaintiffs also allege a separation of powers claim under the United States
  Constitution. (Am. Compl. ¶¶ 125–31.) Although Individual Board Member Plaintiffs have
  capacity to bring such a claim in their personal capacity, (see supra n.10), Plaintiffs have not
  made any arguments to support this claim, and in any event, cannot state such a claim. (Pls.’
  Opp’n 1, 49–59.) “[T]he separation-of-powers principles that the Constitution imposes upon the
  Federal Government do not apply against the states.” Stop the Beach Renourishment, Inc. v. Fla.
  Dept. of Envt. Prot., 560 U.S. 702, 719 (2010)); see also Consolidated Edison Co. of N.Y., Inc. v.
  Pataki, 292 F.3d 338, 343, 346 n.4 (2d Cir. 2002) (noting that “the federal Constitution does not
  impose any particular separation of powers requirement on state governments . . . . ”); Friedman
  v. Beame, 558 F.2d 1107, 1111 n.8 (2d Cir. 1977) (noting as dicta that “[t]he check on the
  authority of the executive branch of the federal government, flowing from the ‘delegation’
  doctrine, derives from the separation of powers and is not enforceable against the states”
  (citations omitted)); Gray v. Nordstrom, No. 18-CV-1402, 2019 WL 2193463, at *5 (D. Conn.
  May 21, 2019) (“[T]he separation of powers doctrine, as embodied in the federal Constitution, is
  not binding on state or municipal governments.” (citation omitted)); De La Garza v. Lantz, No.
  08-CV-15, 2010 WL 2825818, at *2 (D. Conn. July 15, 2010) (noting that, “as the Supreme
  Court has explained, the separation-of-powers principles that the Constitution imposes upon the
  Federal Government do not apply against the States” (internal quotation marks and citations
  omitted)). Because Plaintiffs cannot assert a valid separation of powers challenge to Part 123
  pursuant to the United States Constitution, the Court grants Defendants’ motion to dismiss
  Individual Board Member Plaintiffs’ federal separation of powers claim.
         28
             Defendants argue that if the Court exercises supplemental jurisdiction over this claim,
  it should find that Plaintiffs “fail to state a claim that Part 123 is an unconstitutional usurpation
  of the Legislature’s non-delegable legislative powers.” (Defs.’ Mem. 20.) In support,
  Defendants argue that: (1) the New York Legislature “expressly delegated broad authority to both
  SED and its Commissioner to implement rules and regulations to advance state policy goals for



                                                   71
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 72 of 89 PageID #:
                                               930



  support of their argument that the Court should decline to exercise supplemental jurisdiction,

  Defendants argue that Part 123 is a developing state legal issue ill-suited for relief in federal

  courts. (Id. at 19 (citing Donohue v. Mangano, 886 F. Supp. 2d 126, 148 (E.D.N.Y. 2012);

  Valencia ex rel. Franco v. Lee, 316 F.3d 299, 307–08 (2d Cir. 2003); Giordano v. City of New

  York, 274 F.3d 740, 754 (2d Cir. 2001); Seabrook v. Jacobson, 153 F.3d 70, 72 (2d Cir. 1998)).)

  Defendants argue that Part 123’s validity under the New York Constitution is “purely a matter of

  state law” and the regulation “involves matters of state governance” including “state oversight of

  its public school districts and efforts to further a state policy of ensuring safe and discrimination-

  free learning environment.” (Id. (citing K.W. ex rel. Brown v. City of New York, 275 F.R.D. 393,

  400 (E.D.N.Y. 2011)).)

          Plaintiffs argue that the Court should exercise jurisdiction over this claim because

  “[their] federal and state law claims are based on the same set of events and derive from a

  common nucleus of operative fact.” (Pls.’ Opp’n 52.) Plaintiffs contend that the exception for

  declining to extend supplemental jurisdiction over novel or complex issues outlined in “28

  U.S.C. [§] 1367(c)(1) does not apply.” (Id.) In support, Plaintiffs argue that, “[w]hile Part 123

  itself may be novel, Plaintiffs’ challenges of Part 123 do not turn on novel or unresolved




  learning environments within New York public schools,” (id. at 21); (2) Part 123 falls within the
  scope of DASA, (id. at 22–23); (3) the Legislature’s efforts to codify an Indigenous mascot ban
  do not constitute sufficient “vigorous debate” to limit SED’s rulemaking authority, (id. at 23);
  and (4) SED’s use of special expertise in enacting Part 123 weighs strongly in their favor, (id. at
  23–24). See Boreali v. Axelrod, 71 N.Y.2d 1 (1987) (providing the framework for evaluating
  whether an act of administrative rulemaking has exceeded its regulatory authority). Plaintiffs
  argue that Defendants “exceeded their rule-making authority” in enacting Part 123, by making
  impermissible value judgments, exceeding the reach of DASA as an enabling statute after
  unsuccessful attempts by the Legislature to reach meaningful agreement on the issue, and relying
  on an “Indigenous Advisory Group” rather than the SED’s own expertise. (Pls.’ Opp’n 57–59.)
  Because the Court declines to exercise supplemental jurisdiction over this claim, the Court does
  not decide whether Plaintiffs have stated a claim.


                                                    72
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 73 of 89 PageID #:
                                               931



  questions of state law” because “[t]he ‘separation of powers’ [doctrine] is a well-settled

  doctrine,” as are “Article 78 challenges,” and “the requirements of SAPA.” (Id. at 52–53.)

  Plaintiffs also argue that the cases relied on by Defendants, Donahue and K.W. ex rel. Brown, are

  factually distinguishable. (Id. at 53–54 (citing Donohue, 886 F.Supp. 2d at 133, 148; K.W. ex

  rel. Brown, 275 F.R.D. at 400).)

         “It is a principle of first importance that the federal courts are tribunals of limited subject

  matter jurisdiction.” Wright v. Musanti, 887 F.3d 577, 583 (2d Cir. 2018) (citation omitted).

  “Under 28 U.S.C. § 1367(a), district courts ‘shall have supplemental jurisdiction over all other

  claims that are so related to claims in the action within such original jurisdiction that they form

  part of the same case or controversy.’” Montefiore Med. Ctr. v. Teamsters Loc. 272, 642 F.3d

  321, 332 (2d Cir. 2011) (quoting 28 U.S.C. § 1367(a)). “[A] district court cannot exercise

  supplemental jurisdiction unless there is first a proper basis for original federal jurisdiction.”

  Cangemi v. United States, 13 F.4th 115, 134 (2d Cir. 2021) (internal quotation marks omitted)

  (quoting Cohen v. Postal Holdings, LLC, 873 F.3d 394, 399 (2d Cir. 2017)); see also Montefiore

  Med. Ctr., 642 F.3d at 332 (“In order to exercise supplemental jurisdiction, a federal court must

  first have before it a claim sufficient to confer subject matter jurisdiction.” (citing United Mine

  Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966))). Both the claim conferring subject matter

  jurisdiction and the supplemental claim “must stem from the same ‘common nucleus of operative

  fact’; in other words, they must be such that the plaintiff ‘would ordinarily be expected to try

  them all in one judicial proceeding.’” Id. (quoting Gibbs, 383 U.S. at 725); see also Treglia v.

  Town of Manlius, 313 F.3d 713, 723 (2d Cir. 2002) (stating that supplemental jurisdiction is

  proper where a state law “claim arises out of approximately the same set of events as [the]

  federal . . . claim”). However, a district court may decline to exercise supplemental jurisdiction




                                                    73
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 74 of 89 PageID #:
                                               932



  over a claim for a number of reasons, including: “(1) the claim raises a novel or complex issue of

  State law, (2) the claim substantially predominates over the claim or claims over which the

  district court has original jurisdiction, (3) the district court has dismissed all claims over which it

  has original jurisdiction, or (4) in exceptional circumstances, there are other compelling reasons

  for declining jurisdiction.” 28 U.S.C. § 1367(c).

          A district court may decline to exercise supplemental jurisdiction over a claim if “the

  claim raises a novel or complex issue of [s]tate law.” 28 U.S.C. § 1367(c)(1). “Where a pendent

  state claim turns on novel or unresolved questions of state law, especially where those questions

  concern the state’s interest in the administration of its government, principles of federalism and

  comity may dictate that these questions be left for decision by the state courts.” Valencia, 316

  F.3d at 306 (finding that the district court had abused its discretion by exercising supplemental

  jurisdiction over state law claims because, at the time of the dismissal of federal claims, no

  judicial opinions had been issued on the “novel and complex issues of state law” involving the

  city’s ability to create a “special relationship” with the plaintiff by failing to enforce local laws

  (citing Seabrook, 153 F.3d at 72)); Norton v. Town of Brookhaven, No. 22-1015, 2023 WL

  3477123, at *4 (2d Cir. May 16, 2023) (vacating the district court’s decision to exercise

  supplemental jurisdiction “where at least one of the remaining state law claims raised an

  unresolved question of state law” and therefore comity counseled “strongly against the exercise

  of supplemental jurisdiction.”); Catzin v. Thank You & Good Luck Corp., 899 F.3d 77, 81 (2d

  Cir. 2018) (same); Ash v. Jacobson, No. 16-CV-9548, 2020 WL 2848178, at *6 (S.D.N.Y. June 1,

  2020) (same); Shariar v. Smith & Wollensky Rest. Grp, Inc., 659 F.3d 234, 245–56 (2d Cir. 2011)

  (affirming the district court’s decision to exercise supplemental jurisdiction in part because the

  state law claims did not raise complicated or novel issues of state law); cf. Winter v. Northrup,




                                                    74
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 75 of 89 PageID #:
                                              933



  334 F. App’x 344, 345–47 (2d Cir. 2009) (finding that the district court did not abuse its

  discretion in retaining jurisdiction over state law claims, “given that (1) discovery had been

  completed, (2) the state claims were far from novel, and (3) the state and federal claims were

  substantially identical”); see also Kolari v. N.Y.-Presbyterian Hosp., 455 F.3d 118, 122 (2d Cir.

  2006) (explaining that courts must balance “values of judicial economy, convenience, fairness,

  and comity . . .” when determining whether to exercise supplemental jurisdiction over state law

  claims).

         Where a district court has dismissed all claims over which it has original jurisdiction, it

  “must reassess its jurisdiction over the remaining state law claims by considering ‘judicial

  economy, convenience, fairness, and comity.’” Morton v. County of Erie, 796 F. App’x 40, 44

  (2d Cir. 2019) (quoting Motorola Credit Corp. v. Uzan, 388 F.3d 39, 56 (2d Cir. 2004); Jordan

  v. Chase Manhattan Bank, 91 F. Supp.3d 491, 511 (S.D.N.Y. 2015) (considering whether to

  exercise supplemental jurisdiction after dismissing plaintiff’s federal claims, and ultimately

  declining to exercise supplemental jurisdiction over plaintiff’s state law claims because “no

  circumstances counsel in favor of the [c]ourt’s exercising supplemental jurisdiction.”); J.E. ex

  rel. Edwards v. Center Moriches Union Free Sch. Distr., 898 F. Supp. 2d 516, 559–60 (E.D.N.Y.

  2012) (granting defendants’ motion for summary judgment as to the federal claims, and

  declining to exercise supplemental jurisdiction over plaintiff’s state claims because the federal

  claims were dismissed before trial and because “comity suggests that this case would be better

  litigated in state court where the conduct of state actors can be adjudicated by the state court

  under state law” (citing Saggio v. Sprady, 475 F. Supp. 2d 203, 212–13 (E.D.N.Y. 2007)));

  Baptiste v. W. Hotel, No. 04-CV-5544, 2005 WL 1020779, at *5 (S.D.N.Y. Apr. 27, 2005)

  (declining to exercise supplemental jurisdiction after finding there were “no special




                                                   75
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 76 of 89 PageID #:
                                               934



  circumstances” mitigating in favor of retaining federal jurisdiction in a case after dismissing the

  plaintiff’s federal claims and plaintiff’s remaining claims “solely sound[ed] in state law.”).

         Although all of Plaintiffs’ state and federal claims arise from a common nucleus of

  operative facts, because Plaintiffs’ New York Constitution separation of powers claim

  challenging Part 123 presents novel and unresolved questions of state law, the Court declines to

  exercise supplemental jurisdiction over the claim. See Valencia, 316 F.3d at 301–02, 307

  (finding that the district court abused its discretion by exercising supplemental jurisdiction over a

  state law claim that turned on issues the Second Circuit considered novel and “unsettled” despite

  the New York Court of Appeals opining on the issue in a previous case). No court has decided

  whether Part 123 is valid under the New York Constitution, and therefore, Plaintiffs’ challenge

  to Part 123 presents novel and unresolved questions of state law. See Cambridge Cent. Sch. Dist.

  v. N.Y. State Educ. Dep’t, 200 N.Y.S.3d 804, 804–05 (App. Div. 2023) (holding, that Part 123

  “render[ed] th[e] appeal moot” because the petitioner sought to continue using the “Indians”

  nickname and imagery prohibited by Part 123, but not deciding its constitutionality); see also

  Valencia at 306 (finding the state law issues that the district court exercised supplemental

  jurisdiction over were novel and “unsettled” despite the New York Court of Appeals having

  addressed them in a single previous case, because state courts had not yet had the opportunity to

  apply that precedent, and, as a result, the limited state caselaw on the matter left the issue

  unsettled and the district court’s conclusions on “[un]sure footing”); Blume v. Navient Corp, No.

  23-CV-1159, 2024 WL 2923704, at *4 (N.D.N.Y. June 10, 2024) (declining to exercise

  supplemental jurisdiction over plaintiff’s state claims as “implicating unsettled questions of state

  law” because the state law in question “was only enacted in 2019 . . . and there is little case law

  addressing [it]”); Piechowicz v. Lancaster Cent. Sch. Dist., No. 17-CV-845, 2022 WL 22782841,




                                                    76
Case 2:23-cv-07052-MKB-LGD              Document 60         Filed 03/27/25       Page 77 of 89 PageID #:
                                                935



  at *17, *19 (W.D.N.Y. Jan. 18, 2022) (declining to exercise supplemental jurisdiction over

  plaintiff’s claims under New York Civil Rights Law § 79-n, and in the alternative dismissing

  them, because § 79-n “presents a novel question of law not yet considered by New York courts,”

  as it “‘is a relatively new law’ which New York courts have not had much opportunity to

  consider such that ‘there is little guidance’ as to its applicability . . . [and] courts that have

  considered § 79-n have not done so in the context of school bullying or harassment as is alleged

  in the instant case.” (quoting Spring v. Allegany-Limestone Cent. Sch. Dist., No. 14-CV-476,

  2017 WL 6512858, at *8 (W.D.N.Y. Dec. 20, 2017)), report and recommendation adopted, 2022

  WL 17540648 (W.D.N.Y. Dec. 8, 2022)). Because Part 123’s constitutionality and scope

  present unresolved questions of state law, the Court declines to exercise supplemental

  jurisdiction over this claim.

          Plaintiffs’ attempts to distinguish Donohue and K.W. ex rel. Brown are not persuasive.

  (Pls.’ Opp’n 52–53 (citing Donohue, 886 F. Supp. 2d at 133, 148; K.W. ex rel. Brown, 275

  F.R.D. at 396).) In Donohue, the court declined to exercise supplemental jurisdiction over the

  plaintiffs’ challenge to a county local law’s impact on their ability to negotiate salaries and

  benefits because of a parallel, ongoing state action, and to “avoid making a determination as to

  novel and complex questions concerning the New York Constitution,” including the “dispute as

  to the proper application of various nuanced New York statutes.” Donohue, 886 F. Supp. 2d at

  132–33, 148. Similarly, in K.W. ex rel. Brown, the court declined to exercise supplemental

  jurisdiction because bullying in public schools was a “developing” issue in state law, and noted

  that state and local governments are “better suited” to creating policy than federal courts when

  bullying interferes with learning. K.W. ex rel. Brown, 275 F.R.D. at 400. Although Plaintiffs

  argue that the Court should examine the separation of powers doctrine, which is not novel, rather




                                                     77
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 78 of 89 PageID #:
                                               936



  than the novelty of Part 123, the courts in Donohue and K.W. ex rel. Brown relied on the novelty

  of the state and local laws and policies in declining to exercise supplemental jurisdiction over the

  plaintiffs’ state law claims. See K.W. ex rel Brown, 275 F.R.D. at 400 (“[T]he subject of

  bullying in New York public schools is a developing state legal issue”); Donohue, 886 F. Supp.

  2d at 148 (finding the state law claims turned on whether a new county law conflicted with state

  laws and thus “putting aside the . . . constitutional question, what remains is a dispute as to the

  proper application of . . . [state] statutes.”). Accordingly, the Court declines to exercise

  supplementary jurisdiction over Plaintiffs’ claim that Defendants passed Part 123 in violation of

  the New York State Constitution separation of powers doctrine.29

              c.   Preliminary injunction

         Plaintiffs seek a preliminary injunction. In support, Plaintiffs argue that (1) they will

  suffer irreparable harm if they are forced to use tax-payer dollars to retire the Indigenous names,

  logos, and mascots; (2) they are likely to succeed on the merits; and (3) the balance of hardships

  weighs in the Plaintiffs’ favor because the potential injury to Defendants is “non-existent.” (Pls.’

  Conf. Mem. 2–3.)




         29
              The Court also declines to exercise supplemental jurisdiction because it dismisses all
  of Plaintiffs’ federal claims. Garrasi v. Wells Fargo Bank, N.A., No. 22-921, 2024 WL 191802,
  at *2 (2d Cir. Jan. 18, 2024) (upholding a district court's dismissal of state law claim where the
  court also dismissed plaintiff's federal claim (citing Kolari v. N.Y.-Presbyterian Hosp., 455 F.3d
  118, 122 (2d Cir. 2006))); Fernandez v. Zoni Language Ctrs., Inc., 858 F.3d 45, 46 n.1 (2d Cir.
  2017) (affirming district court’s decision declining to exercise supplemental jurisdiction over
  state law claims after dismissing plaintiffs’ federal claims); All. of Auto. Mfrs., Inc. v. Currey, 610
  F. App’x 10, 14 (2d Cir. 2015) (holding it was “not improper for the court to decline to exercise
  its supplemental jurisdiction” after it properly dismissed the plaintiff's federal claims); One
  Commc’ns Corp. v. J.P. Morgan SBIC LLC, 381 F. App’x 75, 82 (2d Cir. 2010) (“If all of a
  plaintiff's federal claims are dismissed, a district court is well within its discretion to decline to
  assert supplemental jurisdiction over any state law claims[.]” (citing WWBITV, Inc. v. Vill. of
  Rouses Point, 589 F.3d 46, 52 (2d Cir. 2009))).

                                                    78
Case 2:23-cv-07052-MKB-LGD              Document 60         Filed 03/27/25       Page 79 of 89 PageID #:
                                                937



          Defendants argue that Plaintiffs have failed to satisfy the elements necessary for a

  preliminary injunction. (Defs.’ Conf. Mem. 2–3.)

          “[A] preliminary injunction is ‘an extraordinary remedy never awarded as of right.’”

  Benisek v. Lamone, 585 U.S. 155, 158 (2018) (per curiam) (quoting Winter v. Nat. Res. Def.

  Council, Inc., 555 U.S. 7, 24 (2008)); see also Woodstock Ventures, LC v. Woodstock Roots LLC,

  837 F. App’x 837, 838 (2d Cir. 2021) (same). The purpose of a preliminary injunction is to

  “preserve the relative positions of the parties until a trial on the merits can be held.” Benisek,

  585 U.S. at 161 (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)). A party

  seeking a preliminary injunction “must establish (1) that it is likely to succeed on the merits, (2)

  that it is likely to suffer irreparable harm if the injunction is not granted, (3) that the balance of

  the equities tips in its favor, and (4) that the injunction serves the public interest.” SAM Party of

  N.Y. v. Kosinski, 987 F.3d 267, 273–74 (2d Cir. 2021); see also Mendez v. Banks, 65 F.4th 56,

  63–64 (2d Cir. 2023), cert. denied, 144 S. Ct. 559 (2024) (explaining that the traditional

  preliminary injunction standard requires plaintiffs to show (1) “a likelihood of success on the

  merits or sufficiently serious questions going to the merits . . . ,” (2) “that [the plaintiffs] are

  likely to suffer irreparable injury in the absence of an injunction,” (3) “that the balance of

  hardships tips in [the plaintiffs’] favor,” and (4) “that the public interest would not be disserved

  by the issuance of a preliminary injunction.” (quoting Salinger v. Colting, 607 F.3d 68, 79–80

  (2d Cir. 2010) (internal quotation marks and citations omitted)); Ventura de Paulino v. N.Y.C.

  Dep’t of Educ., 959 F.3d 519, 529 (2d Cir. 2020) (noting that to obtain a preliminary injunction,

  “the movant has to ‘show (a) irreparable harm and (b) either (1) likelihood of success on the

  merits or (2) sufficiently serious questions going to the merits to make them a fair ground for

  litigation and a balance of hardships tipping decidedly toward the party requesting the




                                                     79
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 80 of 89 PageID #:
                                              938



  preliminary relief’” (quoting Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities Master

  Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010), cert. denied, 141 S. Ct. 1075 (2021))).

                    i.   Likelihood of success or sufficiently serious questions going to the
                         merits

         Plaintiffs argue that “[they] are likely to succeed on the merits of their [A]mended

  [C]omplaint.” (Pls.’ Conf. Mem. 2–3.) Plaintiffs contend that, in the context of the First

  Amendment, “likelihood of success on the merits is the dominant, if not dispositive, factor.”

  (Pls.’ Inj. Mem. 1 (quoting Alexander v. Sutton, 747 F. Supp.3d 520, 543 (E.D.N.Y. 2024)).)

  Defendants argue that Plaintiffs “cannot show any likelihood of success on the merits of their

  claims.” (Defs.’ Conf. Mem. 2.)

         To justify a preliminary injunction “the movant must establish ‘(1) either (a) a likelihood

  of success on the merits or (b) sufficiently serious questions going to the merits to make them a

  fair ground for litigation and a balance of hardships tipping decidedly in the movant’s favor.’”

  Kelly v. Honeywell Int’l, Inc., 933 F.3d 173, 183–84 (2d Cir. 2019) (quoting Faiveley Transp.

  Malmo AB v. Wabtec Corp., 559 F.3d 110, 116 (2d Cir. 2009)). “The ‘serious questions’

  standard permits a district court to grant a preliminary injunction . . . where it cannot determine

  with certainty that the moving party is more likely than not to prevail on the merits of the

  underlying claims, but where the costs outweigh the benefits of not granting the injunction.”

  State Farm Mut. Auto. Ins. Co. v. Tri-Borough NY Med. Prac. P.C., 120 F.4th 59, 82–83 (2d

  Cir. 2024) (quoting Citigroup, 598 F.3d at 35); Spanski Enters., Inc. v. Telewizja Polska S.A.,

  832 F. App’x 723, 724 (2d Cir. 2020) (quoting same). “The ‘serious questions’ standard allows

  courts to ‘asses[] the merits of a claim at the preliminary injunction stage’ by affording

  considerable ‘flexibility in the face of varying factual scenarios and the greater uncertainties

  inherent at the outset of particularly complex litigation.’” State Farm, 120 F.4th 83 (quoting



                                                   80
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 81 of 89 PageID #:
                                               939



  Citigroup, 598 F.3d at 35); see also Gov’t Emps. Ins. Co. v. Beynin, No. 19-CV-6118, 2021 WL

  1146051, at *6 (E.D.N.Y. Mar. 25, 2021) (“The value of an approach encompassing the serious

  questions standard ‘lies in its flexibility in the face of varying factual scenarios and the greater

  uncertainties inherent at the outset of particularly complex litigation.’”). “Consideration of the

  merits is virtually indispensable in the First Amendment context, where the likelihood of success

  on the merits is the dominant, if not the dispositive, factor.” New York Progress & Prot. PAC v.

  Walsh, 733 F.3d 483, 488 (2d Cir. 2013) (citing Joelner v. Vill. of Wash. Park, 378 F.3d 613, 620

  (7th Cir. 2004)); Joelner, 378 F.3d at 620 (“When a party seeks a preliminary injunction on the

  basis of a potential First Amendment violation, the likelihood of success on the merits will often

  be the determinative factor.” (citing Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir.

  1998))).

         As discussed supra, (see supra sections II.iii.–iv.), Plaintiffs have not plausibly alleged

  that Part 123 is facially overbroad, facially vague, or infringes the First Amendment rights of

  New York public school employees and officials. See Farrell, 449 F.3d at 496 (“Facial

  vagueness challenges may go forward only if the challenged regulation ‘reaches a substantial

  amount of constitutionally protected conduct.’” (quoting Kolender, 461 U.S. at 358 n.8));

  Church of Am. Knights of the Ku Klux Klan, 356 F.3d at 200, 207–08 (finding that the First

  Amendment was not implicated in challenge to New York’s anti-mask law where the uniform’s

  mask “ha[d] no independent or incremental expressive value”); Kennedy, 597 U.S. at 514, 529

  (finding that a school coach “demonstrated that his speech was private speech, not government

  speech,” when he quietly uttered prayers on the football field after games); Latino Officers Ass’n

  v. Safir, 170 F.3d 167, 172 (2d Cir. 1999) (denying a motion for a preliminary injunction where

  the government’s interest in “staying informed of police officers’ public statements about the




                                                    81
Case 2:23-cv-07052-MKB-LGD             Document 60         Filed 03/27/25      Page 82 of 89 PageID #:
                                               940



  Department” outweighed the employees’ interest “in the unfettered dissemination of their views

  regarding the police department”). Accordingly, Plaintiffs have neither demonstrated a

  likelihood of success on the merits or sufficiently serious questions going to the merits.

                     ii. Irreparable harm

         Plaintiffs argue they will suffer irreparable harm if forced to comply with Part 123. First,

  Plaintiffs argue it would be “a huge waste of energy, resources and taxpayer dollars” to retire

  their Indigenous names, logos, and mascots if Plaintiffs later prevail in the lawsuit. (Pls.’ Conf.

  Mem. 3; see also Pls.’ Inj. Mem. Reply 2.) In support, Plaintiffs argue that removing traces of

  Indigenous names, logo, and imagery will require “precious time and staffing resources.” (Pls.’

  Inj. Mem. 2.) Plaintiffs argue that while ordinary compliance costs are typically insufficient to

  satisfy the irreparable harm requirement, this case “presents extensive and atypical compliance

  costs to the public that warrant preliminary injunctive relief.” (Pls.’ Inj. Mem. Reply 2.)

  Second, Plaintiffs argue that since compliance with Part 123 would require public schools to

  impair the First Amendment rights of Individual Board Member Plaintiffs “and all other District

  officials and employees, Plaintiffs readily meet the irreparable harm prong.” (Pls.’ Inj. Mem. 2.)

  In support, Plaintiffs argue that violating Plaintiff’s First Amendment rights “for even [a]

  minimal period[ ] of time, unquestionably constitutes irreparable injury” and that “presumption

  of irreparable injury flows from a violation of constitutional rights.” (Id. at 1 (first citing Sutton,

  747 F. Supp. 3d at 543; then citing Weisshaus v. Cuomo, 512 F. Supp. 3d 379, 390 (E.D.N.Y.

  2021); and then citing Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 636 (2d Cir. 2020)).)

  Finally, Plaintiffs argue that compliance with Part 123 by removing the Indigenous names, logos,

  and mascots at issue will harm the culture of the school community. (Id. at 2–3.)

         Defendants argue that Plaintiffs have failed to identify irreparable harm. (Defs.’ Conf.




                                                    82
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 83 of 89 PageID #:
                                              941



  Mem. at 2–3.) First, Defendants argue that “the mere allegation of a constitutional infringement

  in and of itself does not constitute irreparable harm” and that Plaintiffs “must first show they are

  likely to succeed on the merits of their First Amendment claims.” (Defs.’ Inj. Mem. 1–2

  (quoting Pinckney v. Bd. of Educ. of Westbury Union Free Sch. Dist., 920 F. Supp. 393, 400

  (E.D.N.Y. 1996)).) Defendants also argue that, since their First Amendment claims challenge

  “only 8 NYCRR § 123.5, even if [Plaintiffs] could demonstrate a constitutional harm (which

  they cannot), such a harm” would have no relevance “to the enforcement of the other provisions

  of Part 123, including § 123.3 (requiring that Indigenous names and imagery be retired by the

  end of the 2024–25 school year).” (Id. at 2.) Second, Defendants argue that “courts have

  repeatedly rejected claims . . . that irreparable harm would result from having to devote resources

  to complying with a government regulation.” (Id.) Defendants also argue that Plaintiffs’

  resource argument is “merely a variation on an argument that implementing Part 123 will involve

  financial loss” and that such harms are reparable through money damages. (Id.; see also Defs.’

  Conf. Mem. at 3.)

         Irreparable harm is “the single most important prerequisite for the issuance of a

  preliminary injunction.” State Farm, 120 F.4th at 80 (quoting Faiveley Transp. Malmo AB, 559

  F.3d at 118); Gov’t Emps. Ins. Co. v. Barakat, 709 F. Supp. 3d 93, 100 (E.D.N.Y. 2024) (“The

  showing of irreparable harm is perhaps the single most important prerequisite for the issuance of

  a preliminary injunction.” (quoting Allstate Ins. Co. v. Elzanaty, 929 F. Supp. 2d 199, 221

  (E.D.N.Y. 2013))). To establish irreparable harm, “the moving party ‘must demonstrate that

  absent a preliminary injunction [it] will suffer an injury that is neither remote nor speculative, but

  actual and imminent, and one that cannot be remedied if a court waits until the end of trial to

  resolve the harm.’” State Farm, 120 F.4th at 80 (alteration in original) (quoting Faiveley Transp.




                                                   83
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25      Page 84 of 89 PageID #:
                                               942



  Malmo AB, 559 F.3d at 118). Absent “extraordinary circumstances,” injunctions are also

  unavailable “[w]here there is an adequate remedy at law, such as an award of money damages.”

  Id. (quoting Moore v. Consol. Edison Co. of N.Y., 409 F.3d 506, 510 (2d Cir. 2005)). “The loss

  of First Amendment freedoms, even for minimal periods of time, unquestionably constitutes

  irreparable injury.” N.Y. Progress & Prot. PAC, 733 F.3d at 486 (quoting Elrod v. Burns, 427

  U.S. 347, 373 (1976); Bronx Household of Faith v. Bd. of Educ. of City of New York, 331 F.3d

  342, 349 (2d Cir. 2003) (“Where a plaintiff alleges injury from a rule or regulation that directly

  limits speech, the irreparable nature of the harm may be presumed.”).

         Plaintiffs’ harms are not irreparable. As a threshold matter, Plaintiffs could seek an

  extension of the compliance deadline, which would remedy any of Plaintiffs’ alleged harms.30

  See 8 NYCRR § 123.3(b) (“Upon a showing of good cause, the commissioner may grant an

  extension of the timelines prescribed in subdivision (a) of this section.”). Regardless, since

  Plaintiffs have not plausibly alleged a violation of the First Amendment, the harm to Plaintiffs

  and the school community is too conjectural. See N.Y. Progress & Prot. PAC, 733 F.3d at 487

  (finding irreparable harm where there was a “direct restriction on political expression”); Safir,

  170 F.3d at 171 (finding that possible chilling effect of a rule requiring police officers to notify

  the police department they intend to speak to an audience was a “conjectural chill” and “[was]

  not sufficient to establish real and imminent irreparable harm” (citations omitted)); Blakeman,

  2024 WL 3201671, at *18 (“[A] bare assertion of a constitutional injury, without evidence



         30
             At oral argument, the Court asked whether Defendants could delay the deadline to
  comply with Part 123 until the resolution of Defendants’ motion to dismiss and Plaintiffs’ motion
  for preliminary injunction. (Hr’g Tr. 63:12–23.) Defendants later informed the Court in writing
  that, while “[t]he Board of Regents does not intend to modify the compliance deadline in 8
  NYCRR § 123.3(a), . . . school districts who have demonstrated good cause toward meeting
  these goals may request an extension from the Commissioner under subsection (b) [of Part
  123].” (Letter dated Oct. 23, 2024, Docket Entry No. 50.)


                                                   84
Case 2:23-cv-07052-MKB-LGD            Document 60         Filed 03/27/25      Page 85 of 89 PageID #:
                                              943



  ‘convincingly show[ing]’ the existence of noncompensable damages, is insufficient to

  automatically trigger a finding of irreparable harm.” (citing KM Enters. v. McDonald, No. 11-

  CV-5098, 2012 WL 540955, at *4 (E.D.N.Y. Feb. 16, 2012))). Further, any compliance or

  resource costs are entirely compensable through money damages and are not “irreparable” as a

  matter of law. Moore, 409 F.3d at 510 (“Where there is an adequate remedy at law, such as an

  award of money damages, injunctions are unavailable except in extraordinary circumstances.”

  (citations omitted)); Freedom Holdings, Inc. v. Spitzer, 408 F.3d 112, 115 (2d Cir. 2005)

  (“[O]rdinary compliance costs are typically insufficient to constitute irreparable harm.”

  (citations omitted)); SymQuest Grp., Inc. v. Canon U.S.A., Inc., No. 15-CV-4200, 2015 WL

  6813599, at *9 (E.D.N.Y. Aug. 7, 2015), (holding that a requirement to drive sixty miles for

  access to technical support services was a “mere inconvenience” and “insufficient to establish

  irreparable harm”), report and recommendation adopted, 2015 WL 6813494 (E.D.N.Y. Aug. 28,

  2015); Monterey Bay Mil. Hous., LLC v. Ambac Assurance Corp., No. 19-CV-9193, 2023 WL

  5498962, at *6 (S.D.N.Y. Aug. 25, 2023) (“Even in the context of a government agency, courts

  routinely find ‘meritless’ the argument ‘that potentially wasted and diverted staff resources

  constitute[s] irreparable harm.’” (alteration in original) (quoting Shays v. Fed. Election Comm’n,

  340 F. Supp. 2d 39, 48 (D.D.C. 2004)).

                    iii. Balance of harms

         Plaintiffs argue that the balance of hardships weighs in their favor in part because

  “[c]ompared with the irreparable harm [P]laintiffs will face if forced to comply with Part 123

  prior to the outcome of this case, the potential injury on the other side of the equation is non-

  existent.” (Pls.’ Conf. Mem. 3.) In support, Plaintiffs argue that, since Defendants “have

  allowed school districts to continue to use their school names, logos, and mascots until the end of




                                                   85
Case 2:23-cv-07052-MKB-LGD             Document 60        Filed 03/27/25       Page 86 of 89 PageID #:
                                               944



  the 2024–2025 school year,” a brief extension of time that would allow the Court to rule on the

  merits would “make no difference” and would result in no hardship. (Id.)

         Defendants argue that the balance of hardships weighs in their favor because the

  inconvenience and cost of retiring the Indigenous names, logos, and mascots “weigh[s] lightly

  against the public interest in furthering a discrimination- and harassment-free learning

  environment.” (Defs.’ Conf. Mem. 3.)

         Under the third prong, a court must “balance the competing claims of injury and must

  consider the effect on each party of the granting or withholding of the requested relief.” State

  Farm, 120 F. 4th at 84 (quoting Yang v. Kosinski, 960 F.3d 119, 135 (2d Cir. 2020)). If there are

  “sufficiently serious questions going to the merits of its claims to make them fair ground for

  litigation,” courts inquire into whether there is “a balance of the hardships tipping decidedly in

  favor of the moving party.” Really Good Stuff, LLC v. BAP Invs., L.C., 813 F. App’x 39, 43 (2d

  Cir. 2020) (quoting Oneida Nation of N.Y. v. Cuomo, 645 F.3d 154, 164 (2d Cir. 2011)); see also

  State Farm Mut. Auto. Ins. Co. v. Parisien, 352 F. Supp. 3d 215, 234 (E.D.N.Y. 2018) (“Because

  the [c]ourt finds that there are ‘serious questions going to the merits’ in lieu of a ‘likelihood of

  success on the merits,’ it must further inquire as to whether . . . there is a ‘balance of hardships

  tipping decidedly’ in [the plaintiff’s] favor.” (quoting Jackson Dairy, Inc. v. H. P. Hood & Sons,

  Inc., 596 F.2d 70, 72 (2d Cir. 1979))); Martinez v. Cuomo, 459 F. Supp. 3d 517, 526–27

  (S.D.N.Y. 2020) (“Plaintiffs must establish that the balance of hardships tips in their favor

  regardless of the likelihood of success.” (citing Salinger, 607 F.3d at 79–80)).

         Plaintiffs have not plausibly alleged a constitutional violation or that the costs to comply

  with Part 123 would cause irreparable harm to the school community, school district, school

  board, or public school employees. In addition, Plaintiffs’ claimed cost and inconvenience if




                                                    86
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25       Page 87 of 89 PageID #:
                                              945



  they were to retire all Indigenous names and imagery do not outweigh the public interest in

  furthering a discrimination- and harassment-free learning environment in all of New York’s

  public schools. Accordingly, the balance of hardships tips decidedly in Defendants’ favor.

                    iv. Public interest

         Plaintiffs argue that granting an injunction is also in the public interest. (Pls.’ Inj. Mem.

  2–3.) In support, Plaintiffs argue (1) that “securing First Amendment rights is in the public

  interest” and (2) that there is no public interest in “maintaining an unconstitutional policy when

  constitutional alternatives are available to achieve the same goal.” (Id. at 2 (quoting Sutton, 747

  F. Supp. 3d at 543 (citations omitted)).)

         Defendants argue that Plaintiffs cannot prove “that the preliminary injunction is in the

  public interest.” (Defs.’ Conf. Mem. 2.) In support, Defendants argue that Plaintiffs cannot

  demonstrate that “the public interest would not be disserved by the issuance of a preliminary

  injunction.” (Id. at 3 (quoting Mendez, 65 F.4th 56, 63–64 (citation omitted)).)

         In analyzing the public interest prong, a court must consider “the public consequences in

  employing the extraordinary remedy of injunction,” Yang, 960 F.3d at 135–36 (quoting Winter,

  555 U.S. at 24), and ensure that the proposed injunction “does not cause harm to the public

  interest,” Sec. & Exch. Comm’n v. Citigroup Glob. Mkts. Inc., 673 F.3d 158, 163 n.1 (2d Cir.

  2012) (per curiam); see also State Farm, 120 F.4th at 85 (explaining that courts “consider

  whether the preliminary injunction is in the public interest, which concerns the ‘public

  consequences in employing the extraordinary remedy of injunction.’” (quoting Yang, 960 F.3d at

  135–36)). Because Plaintiffs have not plausibly alleged Part 123 is unconstitutional, the public

  interest factor weighs against granting Plaintiffs’ motion for a preliminary injunction. See Yang,

  960 F.3d at 123–24, 135–36 (finding that a Democratic Party primary presidential candidate, his




                                                   87
Case 2:23-cv-07052-MKB-LGD            Document 60        Filed 03/27/25      Page 88 of 89 PageID #:
                                              946



  pledged delegates, and delegates for another candidate had demonstrated that the public interest

  would be served by a preliminary injunction requiring the New York State Board of Elections to

  reinstate qualified candidates on the primary ballot and hold the primary election during the

  coronavirus pandemic where they had also demonstrated a likelihood of success on the merits of

  their First and Fourteenth Amendment claims); N.Y. Progress & Prot. PAC, 733 F.3d at 488

  (explaining that “likelihood of success on the merits is the dominant, if not dispositive factor” in

  the First Amendment context); Sutton, 747 F. Supp. 3d at 554–55 (finding that “the public

  interest weighs in favor of granting preliminary injunction relief” where the plaintiffs “have

  shown a clear and substantial likelihood of establishing” that the regulation and challenged

  policies and practices “violate the First Amendment”).

         Based on the foregoing, the Court denies Plaintiffs’ motion to enjoin the enforcement of

  Part 123.

     III. Conclusion

         For the reasons discussed above, the Court grants Defendants’ motion to dismiss. First,

  the Court grants Defendants’ motion to dismiss the constitutional separation of powers claims, as

  well as the First Amendment and Fourteenth Amendment claims, of School District Plaintiffs,

  School Board Plaintiffs, and Individual Board Member Plaintiffs suing in their official capacity

  for lack of capacity. Second, the Court grants Defendants’ motion to dismiss Plaintiffs’ as-

  applied and facial vagueness claims for failure to state a claim. Third, the Court grants

  Defendants’ motion to dismiss Plaintiffs’ overbreadth claims for failure to state a claim and

  grants Individual Board Member Plaintiffs leave to amend their Complaints to allege specific

  facts supporting their First Amendment-based overbreadth claims in their personal capacity.

  Fourth, the Court grants Defendants’ motion to dismiss Individual Board Member Plaintiffs’




                                                   88
Case 2:23-cv-07052-MKB-LGD            Document 60       Filed 03/27/25      Page 89 of 89 PageID #:
                                              947



  First Amendment free speech claims and grants Individual Board Member Plaintiffs in their

  personal capacity leave to amend their Complaints to allege specific facts supporting their First

  Amendment free speech claims. Fifth, the Court grants Defendants’ motion to dismiss

  Individual Board Member Plaintiffs’ federal separation of powers claim and declines to exercise

  supplemental jurisdiction over Plaintiffs’ state separation of powers claim. Any amended

  complaint must be filed within thirty days of this Memorandum and Order. If an amended

  complaint is not timely filed, the Court will direct the Clerk of Court to enter judgment and close

  this case. The Court denies Plaintiffs’ motion for a preliminary injunction.

  Dated: March 27, 2025
         Brooklyn, New York

                                                       SO ORDERED:



                                                             s/ MKB
                                                       MARGO K. BRODIE
                                                       United States District Judge




                                                  89
